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                             UNITED STATES DEPARTMENT OF JUSTICE
                               FEDERAL BUREAU OF INVESTIGATION




                                         11000 WILSHIRE BLVD., STE. 1700
                                             LOS ANGELES, CA 90024




                                                         T
            Requesting Official(s) and Office(s):      SA Todd M Carter, Los Angele/LBRA 2
            File Number:       AF
            Disc Number (Section):
            Transcriber(s) and Office/RA:              OST Cynthia Lee, os Angeles/LBRA-2




                                            VER A     M TRANSCRIPTION
 R
            Participants                                     Abbreviations
            MJ:            AUS M k Jenkin
            AK:            AUSA Aro Ketche                   Primary language:   (standard) English
            EC:            SA Edward oe                      Secondary Language: (italics) Spanish
D

            TC:            SA Todd Car r                     UI:                 Unintelligible
            TG:            Trey Gowdy                        OV:                 Overlapping Voice
            JF:            J frey For nberry
            UM:            Unk w Male




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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                     JF00011448
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       1    [Beginning of recording 00:00:03]
       2
       3    TC:            This is Todd M. Carter with the FBI, it is July 18 th, approximately 10:12 at the
       4                   office of Neilson and Mullen and then if everyone could…
       5
       6    MJ:            So the record will start, again now that, uh, it has been recording, um, with your
       7                   consent, Congressman Fortenberry and that of your counsel, my name is Matt
       8                   Jenkins, I’m a Federal prosecutor in Los Angeles, um, I’m a chief of our public
       9                   corruption and civil rights section.
      10
      11    AK:            Aron Ketchel, I’m also an Assistant U.S. Attorney     Los A eles, same section as
      12                   Matt.




                                                           T
      13
      14    TG:            Trey Gowdy for Mr. Fortenberry.
      15
      16    JF:            Jeff Fortenberry.
      17
      18
      19
      20
      21
            EC:

            MJ:
                               AF
                           My name is Edward Choe, uh, Special Agent

                           And, uh, we will again sort f go
                           house-keeping matters, uh,
                                                                           ith the FBI out of Los Angeles.

                                                                      just a few h, call them admonitions or
                                                             rticular t      we explain to everyone that we
      22                   interview. Um, this is a volunta y int view which is important, um, for the reasons
      23                   that most people        stand. Vo ntary that means that you can stop, um, you can
      24                   take a break you can have priv e time with your counsel, private time with
      25                   yourself, y u can tell u to go hom you can tell us to stop the recording, all those
      26                   options      available o u and will remain available to you as long as you sit
 R
      27                   through the tervi w. Um, if th e, you sort of counterpoint or part of that contract
      28                   if you will, is    t obviously, uh, they are the FBI we’re the Federal Government,
      29                    ying     he FBI Federal Government is a Federal crime. Um, not to say that you
      30                   have any      tive or lan to do that, or intend to do that, we just got to make that
      31                   admonition your counsel alluded to beforehand. Uh, part of that comes with,
      32                   um, if an whe we do ask you questions that you may not want to tell us the answer,
D

      33                   or may not th nk it’s any of our business or may just wonder why we’re asking.
      34                       u can let s know all of those things, uh, why are you asking? We may not give
      35                   an swe or, uh, give you an answer to your satisfaction, um, but we may also say
      36                   “you k ow what, let’s move on”, or we’ll come back to that”, or we’ll, um, maybe
      37                   we’ll explain to you why we want to know. Um, so you have all those options
      38                   available to you. Again, the only option, uh, you do not have or at least we would
      39                   advise against is obviously lying. So if we do ask you a question where you think
      40                   to yourself, um, no, I’m not sure if I want to answer that right now, or I want to
      41                   think about it, again, all those answers totally fine, we won’t judge you, we’ll try
      42                   and move on, try to get to an answer we think, uh, try to refresh your recollection
      43                   if possible depending on what the issue is we think, um, but, we’ll try to work
      44                   through that so don’t let stop you from, uh, participating.
                                                            2
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       1    JF:            You guys, I’m sorry this is, I need to leave. This, I’m missing votes and---
       2
       3    MJ:            Sure.
       4
       5    JF:            ---So I just need to---
       6
       7    MJ:            Not a problem.
       8
       9    JF:            Answer my UI
      10
      11    TG:            Oh, sure.
      12




                                                            T
      13    JF:            Sure.
      14
      15    TG:            When he says he’s missing a vote, they ave votes a d he’s decided to skip them.
      16
      17    MJ:            Okay, we appreciate that.
      18
      19
      20
      21
            TG:

            MJ:            Okay.
                                AF
                           It’s not about the fate of civ i tion, so.


      22
      23    TG:            It’s an acceptabl         when the       s an important matter.
      24
      25    MJ:            I appreciat that.
      26
 R
      27    TG:            And I’ve b t the House for it.
      28
      29    MJ:              kay     d that’d   House Counsel, or?
      30
      31    JF:            It’s the Hou    of Representatives.
      32
D

      33    MJ:            Okay.
      34
      35    TG:            Ca      th y ll see my name is not up there where it’s UI.
      36
      37    JF:            UI
      38
      39    MJ:            Gotcha.
      40
      41    JF:            Just let leadership build the top up.
      42
      43    MJ:            Okay, understood. Um, and so that is generally sort of the perimeters of this
      44                   voluntary interview. So is there anything I’ve said or told you so far, uh, given you
                                                                3
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       1                   concern, questions, anything you want me to explain more or do you generally get
       2                   the perimeters of the interview?
       3
       4    TG:            Yes, if I don’t, I’ll stop and ask you to go back.
       5
       6    MJ:            Perfect. Yeah, and um, that’s another good point, uh, all of us will basically be
       7                   asking questions. I will probably do most of them, but we’ll all ask them, um.
       8
       9    JF:            Is your name M-a-c or M-a-t-t?
      10
      11    MJ:            M-a-c-k, Mack…yes, thank you. Um, the, uh, if a when e that as an example,
      12                   I say something that you either don’t understand or miss hear unclear, definitely




                                                            T
      13                   feel free to, uh, explain to us what you’re not derstanding or hea g, um, because
      14                   now as you know, it is being recorded so e want to make sure you e answering
      15                   the question you think you’re answerin …and we al o want to make sure that our
      16                   questions are clear. Uh, good with m o far? Uh, okay, uh, do you guys have
      17                   anything else?
      18
      19
      20
      21
            UM:

            MJ:
                           No.
                                 AF
                           Okay, so we’re going to start s t of a ba k      k and refresh sort of my recollection
      22                   and yours about where we’re a nd th n sort of turn the floor over to you, um, for
      23                   at least a limited      bout wher our counsel said you kind of wanted to explain
      24                   from your pe pective Um, but w ere I want to start first is your relationships and
      25                   kind of kn wledge of ree people at, uh, I know the FBI Special Agent Carter
      26                   and Spe l Agent O ea y asked you about, um, a while back and those are three
 R
      27                   people, um, rst G bert Chagou y. Uh, the second is Toufic Baaklini, and the third
      28                   is                 A-u and these, these are the only people I’ll ask about, but sort of
      29                      hin ut into c text we’re most interested in, um, both clarifying and sort of I
      30                   wasn’t th        I w     to hear it from you also your understanding of these
      31                   individuals. o starting with Chagoury himself, can you tell me what you know
      32                   about Gilbert hagoury sort of if you’ve met him, is he someone you’ve talked to?
D

      33                   Um, sort of if ou could explain your relationship in a broad term with.
      34
      35    JF:            Ye I’ve met him twice, talked to him twice.
      36
      37    MJ:            Okay.
      38
      39    JF:            Um, I think it would be more, uh, suitable to me---
      40
      41    MJ:            ----sure.
      42
      43    JF:            If I did what Fray [PH] asked you to indulge in for a moment
      44

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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                    JF00011451
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       1    MJ:            ---okay, yeah if you want----
       2
       3    JF:            ---align a timeline up to these points where I got to know if that was what you were
       4                   talking about?
       5
       6    MJ:            Sure, if that makes you more comfortable, go ahead.
       7
       8    JF:            And I get it, Fray [PH] explained to me that this is beyond th purview of what you
       9                   do, but I, in my mind at least I think it contextualizes a t of things and so I just
      10                   hope.
      11
      12    MJ:            Sure.




                                                            T
      13
      14    JF:            So when I was 19 years old, I entered th Sinai Dessert and I saw sign, it was
      15                   hand-painted graffiti and it was on a t isted pile o concrete and rubble and this
      16                   had been the place of the fighting of the UI War b tween Israel and Germany.
      17
      18
      19
      20
      21
            MJ:

            JF:
                               AF
                           Uh huh.

                           And the word said “Here w the w
                           event for me and it stayed wi me for
                                                                     Here is the iece.” That was a formative
                                                                       y s later to this day; in fact I use that
      22                   story on a speech I gave to the Egy ian Embassy the other night. In the 1980s
      23                   because of this i     ionality to     aware of international affairs, I traveled to a
      24                   Guatemalan fugee c mp at the eight of the horror that’s going on UI and in
      25                   Central A erica. I wa a hair’s br dth of taking a teaching job in Haiti, the same
      26                   period o me when         Dubai Regime fell and it was absolute ciaos there. So fast
 R
      27                   forward th I’m member of            United States Congress some 20 years later, 15
      28                   to 20 years l     , and the first thing I did was seek a seat on Foreign Affairs
      29                     omm e and I ught a seat on the Middle-East Sub-Committee and the Africa
      30                   Sub-Com tee be se having lived in the Middle-East for a time, I thought
      31                   having a dee r understanding of Arab culture and Islam I may be able to make an
      32                   important con ibution to all of this and there are no constituencies around these
D

      33                   issues by the ay.
      34
      35    MJ:            Uh uh
      36
      37    JF:            But I chose to do it because I thought it was proper and right, consistent with my
      38                   background and what I wanted to do in public service. Fast forward to 2014, and
      39                   Isis, this thing, this twisted ideology called Isis arises and they’re attempting to
      40                   exterminate the religious minority communities of the Middle-East, particularly in
      41                   Iraq, Christians and Yezidis and Muslim minorities UI. One of the first things I
      42                   had done when I had got to congress was work on a bill that actually increased
      43                   immigrant Visas for persons who had assisted our troops, put their own life on the
      44                   line, stood side-by-side our soldiers as they fought; some of the died as our
                                                             5
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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011452
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       1                   translator, and interestingly many of these people came from this ancient religious
       2                   tradition called the Yezidis, which are primarily based in Northern Iraq and this odd
       3                   sort of alignment and then earlier in life I had been on a board refugee, non-
       4                   government organization refugee for settlement board in my local community.
       5                   Anyway, these people, the Yezidis actually began to make Lincoln, Nebraska their
       6                   home, so not only is there an alignment of my interest in foreign affairs, but there’s
       7                   a community of people who had actually suffered the genocide of Isis’ hands. I
       8                   attended an annual conference in Rome around these questi ns and others and one
       9                   night I sat down and wrote the Genocide Resolution. S in 2014 what happened
      10                   was Isis attacked these people, these young men wh l         in my community, but
      11                   got Visas to America, who still had sisters and m hers th        came to me on the
      12                   verge of tears passionate and angry said ‘Congressman, you ve got to act, you




                                                            T
      13                   have got to do something.” This was, you m ght remember this hen the Yezidis
      14                   were trapped on Mt. Zenjar, and then wh t we did was take a re lution in the
      15                   House of Representatives, work it and I hink at leas to my hope, is give President
      16                   Obama enough political space to begin launch n air strike, but he is passed that
      17                   out of the House which basically called fo i rotection. Again, I’m responding
      18
      19
      20
      21
                               AF
                           to the heartfelt needs of my community, my own participation in the space of
                           international diplomacy an n ional security an trying enact change so we save
                           lives….around that same tim as be s my memo y recalls and this is 2014, this
                           organization is formed that I wasn’t p e         sly aware of called In Defense of
      22                   Christians, and this is where th lignment of these individuals comes into play.
      23
      24    MJ:            Gotcha.
      25
      26    JF:            And I w I was thr d honestly. Do you remember what I said earlier, there’s
 R
      27                   no constitu cies ound any of his.
      28
      29    MJ:              hh
      30
      31    JF:            Okay, excep for this group of new immigrants who live in my district who we have
      32                   become very ose friends with cause they’re great Americans and I’ve been able
D

      33                   to do so thing to help them…but this In Defense of Christians group was founded
      34                      actually ise awareness in the UI community, Americans, first generation,
      35                   sec d, t rd, of Lebanese origin, Syrian origin, Egyptian origin, who represent
      36                   these inority communities in the Middle-East that are under grave threat. So I
      37                   thought this was just noble that somebody finally was doing what Americans do,
      38                   create associations to press their case.
      39
      40    MJ:            Uh huh.
      41
      42    JF:            In UI, so that’s how I came into contact with Toufic Baaklini. One of my staff
      43                   members at the time, or did you want to ask me about Gilbert first?
      44

                                                             6
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       1    MJ:            No, this is UI
       2
       3    JF:            Cause this is leads to Gil.
       4
       5    MJ:            Yeah, no, I’m following you---
       6
       7    JF:            Okay---
       8
       9    MJ:            ---so I just, do you remember which staff member?
      10
      11    JF:            Yeah, Drew Bolding [PH].
      12




                                                            T
      13    MJ:            Okay.
      14
      15    JF:            Yeah, and I don’t know exactly how D ew was ass ciated with them, but there’s
      16                   another close friend of his named Andr Dorm [PH] who is now like, and, uh,
      17                   Todd, you asked me about Andrew Dorm n H]. Andrew is a member of the
      18
      19
      20
      21
                               AF
                           Policy Planning Team in the State Departme that’s Pompeo’s Shaw, Secretary
                           Shaw, so Andrew also ha
                           formation of this group, but e was
                                                               e proximity, I don’t exactly know how to the
                                                                      ximate to he might have been into the
                           part, I just don’t know, and D ew was lo friends with Andrew. So I became
      22                   aware of their activity and fran y, f und it very engaging and important. Toufic
      23                   held to some l           f respons ity for it, either as president or director or
      24                   something, o key prin pal in it a d so I became aware of, of Toufic and became
      25                   acquainted In the me ing that I h d with Gilbert and so don’t hold me to dates,
      26                   but I’m most certa thi is 2014 and here, here’s why…again, the genocide is
 R
      27                   happening      inst hristians an Yezidis in 2014. In Defense of Christians comes
      28                   into the publi     ht. I get introduced to them because of some proximate relations
      29                     at I d Tou           um, and, and Drew and I go, um, Trey Hill [PH], let me
      30                   remember is to th Four Seasons, which is in Georgetown, and is probably in the
      31                   fall of 2014, aybe early winter or something like that to meet with this gentlemen
      32                   who I wasn’ ware of, Gilbert Chagoury who frankly has an international rep,
D

      33                   reputation an I learned a friend of Bill Clintons, and again had a very engaging
      34                      cussion a out his own life and whatever the dynamics of his own life in Lebanon
      35                   and is i rest in these questions that protect the ancient Christian community.
      36
      37    MJ:            Like growing up in Lebanon, or living in Lebanon, you mentioned this?
      38
      39    JF:            Well, I’m not intimately familiar with his life, he’s from Lebanon.
      40
      41    MJ:            Yeah.
      42
      43    JF:            Uh, he told me the story of, of how I think I learned this later after I actually went
      44                   back and researched more about it and after you guys talked to me, but there’s a
                                                             7
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       1                   connection I think through the county of Nigeria and as I read recently I think he’s
       2                   a Nigerian citizen as I recall.
       3
       4    MJ:            Okay, but that’s? [OV]
       5
       6    JF:            I haven’t hedged my facts here---
       7
       8    MJ:            ---That’s all-right.
       9
      10    JF:            ---on your recording because I don’t know.
      11
      12    MJ:            Yeah, that’s definitely---




                                                             T
      13
      14    JF:            I’ll have more de, intimate details, he just remember a story, the m t fascinating
      15                   story he told me was how he when his f her died, he ould not go back to Lebanon
      16                   to bury him because he was under death hreats b the Syrians.
      17
      18
      19
      20
      21
            MJ:

            JF:
                                  AF
                           Yeah, that’s what story he told you about Leb on.

                           Yeah, that, that was the main tory-

      22    MJ:            ---okay---
      23
      24    JF:            ---that I recal from a of that. Uh, and apparently some major political figure
      25                   called the yrians and aid if any ng happens to him, all the Syrians from my
      26                   country uld be ex led I remember this story of UI
 R
      27
      28    MJ:            Uh huh…and,        ay.
      29
      30    JF:            So, yeap, that’s,        in I think it’s 2014. You can’t hold me to that fact, but I’m
      31                   pretty sure.
      32
D

      33    MJ:            Okay.
      34
      35    JF:            Be use       V]
      36
      37    TG:            You sure that’s the first talk in May?
      38
      39    JF:            Yes.
      40
      41    TG:            Okay.
      42
      43    JF:            So at the same time, I had gone in that same year to the 70 th anniversary of the D-
      44                   Day celebrations at Normandy, France. I was so moved by that, my own
                                                              8
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       1                   grandfather had been killed there and buried there, that I invited the military
       2                   historian who shepherd us around with UI and a group of members of congress to
       3                   come to Nebraska and give a presentation to my vets.
       4
       5    MJ:            Uh huh.
       6
       7    JF:            He saw one of the World War II Memorials that we had built in a little town called
       8                   Columbus, Nebraska, to a man named Andrew Jackson Higgins, you’ve seen
       9                   “Saving Private Ryan?”
      10
      11    MJ:            Sure.
      12




                                                              T
      13    JF:            The boats that landed…that’s a Higgins boat
      14
      15    MJ:            Okay.
      16
      17    JF:            He’s from Nebraska.
      18
      19
      20
      21
            MJ:

            JF:
                               AF
                           Uh huh.

                           Everybody thinks he’s from N w Orlea .
      22
      23    MJ:            Uh huh.
      24
      25    JF:            He got kic ed out of Je uit high sc     ol, apparently made his way to New Orleans.
      26
 R
      27    MJ:            Uh huh.
      28
      29    JF:             ut U      on’t fit   m for his disposition UI.
      30
      31    MJ:            [Laughs]
      32
D

      33    JF:            Is that fair Tr ? You better furrow a brow.
      34
      35    TG:            I’m I’m nxious for, it’s like competing with, with UI
      36
      37    MJ:            [Laughs]
      38
      39    JF:            So I brought, he sees this military historian who’s a British UI, retired British
      40                   military officer. He speaks to my veterans, sees our World War II Memorial, says
      41                   “this, this belongs on Utah Beach with city bonds” and UI overhear that and say
      42                   “We could building another one.” I said, “Gentlemen, let’s don’t with media
      43                   standing there, let’s don’t create an unbeatable expectation.”
      44

                                                               9
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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                JF00011456
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       1    MJ:            Uh huh.
       2
       3    JF:            Anyway, the media writes a story, they take off and start a project, so guess who
       4                   ends up kind of in the middle of it having to complete, me and I told the, the
       5                   committee that form it, I said I cannot raise any money for you guys, but I will help
       6                   negotiate between governments, etc. Around, I’m going to come back to Chagoury
       7                   [PH] so you’re staying with me?
       8
       9    MJ:            I’m with you.
      10
      11    JF:            This is an intimate tapestry and I’m sorry, it’s just he way   m.
      12




                                                            T
      13    MJ:            UI Um, Todd’s thrilled by this. Todd’s a hi     ry buff, so.
      14
      15    TC:            You’re a history major.
      16
      17    MJ:            Yeah.
      18
      19
      20
      21
            TC:

            JF:
                               AF
                           I mean that Mr. Gowdy.

                           So the committee is meeting nd it’s a j med up, it’s all a big mess and the
      22                   prince started having problems, we’v got considerations and I said listen you guys
      23                   and this is just a    ing of citiz   out of Columbus, Nebraska, I said somebody
      24                   needs to go t France. don’t ne to go France myself, I can help anybody who
      25                   wants to g , but frankl I think it o ght to be me and they’re all like Carson [PH],
      26                   you nee o go, plea hel
 R
      27
      28    MJ:            Uh huh.
      29
      30    JF:            So I go ov there, I to D-Day and the World War II Museum, the Navy museum
      31                   there. I me with our ambassador, our American Battlefields Monuments
      32                   Commission st to give them an overview of what we’re doing and to try to get
D

      33                   underneath s me of the logistics questions of all this and work-out some of the
      34                      ncerns ar nd the contract that was working between the museum and the people
      35                   bac hom and, um, because I knew Gilbert lived in Paris, and we had had this very
      36                   engag g conversation just shortly before that…I made contact with him and we
      37                   went to dinner. So I had my daughter with me, um, my second daughter, I have
      38                   five daughters…Todd you might have noticed that at my house, there are a lot of
      39                   kids UI.
      40
      41    TC:            Oh, yeah, that was there.
      42
      43    JF:            Five daughters….and, uh, of course we pay their expenses on my own, but we had
      44                   dinner with Gilbert and also the president of Tutela Oil was there...it’s my
                                                            10
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       1                   understanding Gilbert’s in the oil business or somehow related to the business
       2                   operations of the oil UI.
       3
       4    TG:            They’re going to want to know, Jeff, how you knew how to get in contact with
       5                   Gilbert?
       6
       7    JF:            Probably through Drew and Toufic…I don’t remember, so I didn’t do it directly, I
       8                   just said I think this might be a good idea. The discussion h to nothing to do with
       9                   anything other than just personal niceties, I don’t even r all the nature of it.
      10
      11    MJ:            And then it sounds like it was at least memorable a d/or eng ging conversation for
      12                   you with UI. Did he feel similarly because my follow up que n is he is a pretty




                                                             T
      13                   prominent person and so if I popped up f any reason, he p bably wouldn’t
      14                   answer my call or have dinner with me, b --?
      15
      16    JF:            ---uh huh---
      17
      18
      19
      20
      21
            MJ:
                               AF
                           did he, did you get the same sense that you ys both just hit it off and he said,
                           “Hey, if you’re ever in Pari l k me up or um, why he would go to dinner with
                           you UI?

      22    JF:            Cause I’m probably the first m mber f Congress that has taken an interest in this
      23                   space and prote       ligious m rities in the Middle-East.
      24
      25    MJ:            Non-IDC        lated stuff
      26
 R
      27    JF:            My guess w uld U
      28
      29    MJ:              kay, ah, that akes sense. Okay, and then at the dinner, um, you said your
      30                   daughter s there.
      31
      32    JF:            Yeah.
D

      33
      34    MJ:               e oil pers n
      35
      36    JF:            And h wife who I don’t remember her name.
      37
      38    MJ:            I’m sorry, the oil person’s wife, or UI wife?
      39
      40    JF:            The oil person’s wife, the president. I think he was president of Tutela, which is
      41                   the French oil company.
      42
      43    MJ:            Tutela. Got it. Okay…and that was the second time and that one you described is
      44                   just more niceties or sort of what?
                                                             11
                                                        UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                JF00011458
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                                                    UNCLASSIFIED
            File Number:
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       1    JF:            Yeah, so I think, I could go back and actually look at the date of that trip, but I
       2                   believe that was early 2015 because remember I was at the 70 th anniversary of D-
       3                   Day, that’s 2014, we start the memorial project, I’ve got to get over there fast, so I
       4                   think it was in the first part of 2015 that I was there…yes and it was just general
       5                   niceties, nothing that I remember from them, particular line UI I met with any of
       6                   those.
       7
       8    MJ:            Okay and then following up to your answer, um, sort of so nds like both IDC and
       9                   UI you’re one of the first kind of say first-in that expre d interest in this sort of
      10                   area, at least in the United States or ---
      11
      12    JF:            That’s not exactly true, I remember in, I don’t r member when e hearing was, but




                                                             T
      13                   remember I told you I was on the Middle Ea Sub-Committee?
      14
      15    MJ:            Yeah.
      16
      17    JF:            There’s a former member of congress nam d ary Acherman [PH], so when the
      18
      19
      20
      21    MJ:
                               AF
                           Democrats, I’m a Republican, when the emocrats took to the House of
                           Representatives, he was in h

                           Okay.
                                                          of the sub-com ittee then.


      22
      23    JF:            So Mike Pence h           n in charg    f it, have you heard of him?
      24
      25    MJ:            That, that I m with you
      26
 R
      27    JF:            And then th Dem rats came it nd Gary Acherman [PH] is no longer in Congress
      28                   UI Gary Ac man [PH] was from New York City and he, he decided himself,
      29                    ank y t that po  honestly, I was not familiar with the dynamic of these religious
      30                   minority c mmunity pread throughout the Middle-East, I really wasn’t.
      31
      32    MJ:            Uh huh.
D

      33
      34    JF:             was just n aware of this. I knew in a cursory fashion Lebanon had a significant
      35                   Ca lic adition as they have the frankly a different type of government structure
      36                   where multiple confessions take various roles in their government that’s hard for
      37                   us to understand.
      38
      39    MJ:            Yeah.
      40
      41    JF:            So the Christians have the presidency ahead of the military as I recall correctly and
      42                   other ministers are shared across Sunni Islam, Shi’a Islam and the others and UI.
      43                   So, but anyway, Gary Acherman [PH] had a hearing on the persecution of religious
      44                   minorities, Christians in the Middle East. The reason I’m bringing this up, I think
                                                              12
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011459
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                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1                   this must have been around 2008, don’t hold me to the date, but it was around that
       2                   period of time. When the hearing was finished, a person is running toward me in
       3                   the halls of Congress, that when someone is running at you in Congress, it’s UI
       4
       5    MJ:            Uh huh.
       6
       7    JF:            And he stopped in front and said, “Congressman, do you understand? You don’t
       8                   know what this means, do you understand what this means us? No one has ever
       9                   said a thing about this.”
      10
      11    MJ:            Is he UI?
      12




                                                           T
      13    JF:            He’s from Detroit, a Chaldean Catholics, the are the religious tr dition, Christian
      14                   religion, primarily in Northern Iran. So ar nd the same time, well n at that time,
      15                   but around the time that Isis comes al g with the nocide, I join my colleague
      16                   from California, UI in taking over wh ’s calle the, um, Caucus for Religious
      17                   Minorities in the Middle-East UI. So y u’ following the various pieces of
      18
      19
      20
      21
            MJ:
                               AF
                           alignment as to why in this UI at all?

                           Yeah, no, I think this contex does h

      22    JF:            Okay.
      23
      24    MJ:            Just track it Um, so m also jus rying to get sense of around 2014, 2015, who
      25                   else was s t of in that pace with u, um you mentioned, you know, prior Gary
      26                   Acherm [PH], um t ho else was sort of interested in Congress if you know
 R
      27                   of any?
      28
      29    JF:              ell, y h, Ann Eshoo [PH] from California, who has become a dear friend. Uh,
      30                   she’s Cha an by h own ethnicity.
      31
      32    MJ:            Okay.
D

      33
      34    JF:               d speaks he ancient language herself. So I want to go back to the point that I
      35                   dro ed f. So when Isis is, what’s happening with Isis, our State Department is
      36                   dragg g its feet. Remember there was some controversy even when the Libyans,
      37                   the Christians were beheaded that they weren’t even called Christians.
      38
      39    MJ:            Yeah.
      40
      41    JF:            So we, um, had the idea that a resolution, and this was in 2015 as I recall. A
      42                   resolution making a statement of the United States Congress that what Isis is doing
      43                   is genocide, would actually elevate international consciences as to what was
      44                   happening and work with Anna Eshoo [PH] on that in California. So we did that,
                                                           13
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                JF00011460
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       1                   again, I was in Rome and the next day we had a meeting, approximate to that we
       2                   had meeting and wrote that Genocide Resolution…it was presented to Pope
       3                   Francis. Again, I’m sorry you guys are interested in a fact around an event, but I
       4                   just feel the obligation to kind of give a full sense of all of this.
       5
       6    MJ:            Yeah, it’s helpful and gives us a fuller sense.
       7
       8    TG:            Who else is in the caucus?
       9
      10    JF:            Well, it’s, I have to go back and look. It’s, it’s, it’s k d f one of the caucus’ that
      11                   names only, it’s not a broad active caucus. UI F nks [P used to head it, as I
      12                   recall…we worked with Frank Wolfe [PH] as well on some ngs when we was




                                                            T
      13                   here. The other caucus that has a little mo prominence of sp e is, um, can’t
      14                   remember the name of it, Gus UI heads it…it’s a parallel caucus to is, it’s got a
      15                   different name and I’m in that caucus a well…that e’s more active.
      16
      17    TG:            I think the U.S. Attorney was looking for a       h members that like you, in represent
      18
      19
      20
      21
            JF:
                               AF
                           the UI may be in this niche.

                           Yeah.

      22    TG:            Barrier.
      23
      24    JF:            The Niche w     primar y filled fr kly by Frank Wolfe [PH] who is no longer in
      25                   congress
      26
 R
      27    MJ:            Okay.
      28
      29    JF:              h, T t Franks ad a role, who is no longer in Congress. I think Trent was the
      30                   head of it d then      en Trent left, I must have taken it over, that may not be the
      31                   case, I’m jus not clear.
      32
D

      33    MJ:            And has anyo e else sort of joined you in, in taking that up?
      34
      35    JF:            Bu we n er, we never really promoted it like a---
      36
      37    MJ:            ---okay---
      38
      39    JF:            ---sometimes caucuses are big platforms, sometimes they’re sort of just a name only
      40                   to create a little bit of space.
      41
      42    MJ:            Got you.
      43
      44    JF:            Around a narrower issue.
                                                             14
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                    JF00011461
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            File Number:
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       1
       2    MJ:            Okay.
       3
       4    JF:            And frankly that was the intentionality, although I did push my staff, Drew, in
       5                   particular, when he was with me. I said “Drew, create a website, start inviting
       6                   members.” We’ve done the same thing, I’m the co-chair of the Egyptian caucus,
       7                   having lived in Egypt, um, I just told the staff yesterday, “You guys, let’s get this
       8                   up to 40 members”
       9
      10    MJ:            Hmm.
      11
      12    JF:            Cause without that, you don’t have the kind of leverage…w have 20 members




                                                             T
      13                   right now, but we never did that in this caucu
      14
      15    MJ:            And then in terms of, uh--- [OV]
      16
      17    JF:            But remember when you go on t.v. or so et ng, the television has to identify
      18
      19
      20
      21
            MJ:
                               AF
                           something.

                           Yeah, sure.

      22    JF:            So they say a co-chair of religio s mi orities caucus UI
      23
      24    MJ:            Got you.
      25
      26    JF:            It was m e symboli ly functional in that regard, rather than this large platform;
 R
      27                   again, the sp ce is retty narrow There’s not constituencies around them, members
      28                   of congress h      sympathies as I can tell you in a moment why.
      29
      30    MJ:            Okay.
      31
      32    JF:            But for them    invest time in this, it’s just, it’s pretty tough.
D

      33
      34    MJ:              kay.
      35
      36    JF:            Cause here’s just not constituencies UI. So we wrote the Genocide Resolution
      37                   2015, introduced it, State Department’s dragging its feet, we’re, we’re, Secretary
      38                   Kerry comes before my committee. I, I’m being told you really need to hammer
      39                   him on this. I said “I’m not hammering the man on this. I’m going to invite him
      40                   to the proposition.”
      41
      42    MJ:            Uh huh.
      43


                                                             15
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011462
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                                                    UNCLASSIFIED
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       1    JF:            And I did and he actually pulled me aside afterward and wanted to talk privately
       2                   about it, cause he was facing some obstacles himself, frankly; he had sympathies.
       3
       4    MJ:            Okay.
       5
       6    JF:            He was facing some ob, some obstacles himself inside the State Department.
       7
       8    EC:            And who, who was hammering you to, or who asked you t hammer him on this?
       9
      10    JF:            The staff.
      11
      12    EC:            Okay.




                                                            T
      13
      14    JF:            Yeah.
      15
      16    EC:            Is that a UI or?
      17
      18
      19
      20
      21
            JF:
                               AF
                           I said “I’m not doing that, come on. We inv people for UI cause sometimes in
                           Congress, yeah, have ways f ing things and i supposed to be the normal way
                           and we try to, you know, w ness o
                           inviting him.” So, frankly, it emed t c
                                                                      cord. I sai “I’m not doing that, I’m just
                                                                              enough space for the secretary for
      22                   him to be able to feel comfortab wit me, having private conversation about some
      23                   of his own dyn           of getting his done UI….but then shortly thereafter, the
      24                   Congress dec red this r genocid …and you were sitting there then, I don’t know
      25                   if you rem mber it? he vote w unanimous. Anna and I went on multiple
      26                   national levision, in rn tional tele ision shows, got pressed on the question what
 R
      27                   does this m n it’ just a word Most certain implications, international law, but
      28                   more importa       it elevates international consciousness as to what is happening to
      29                     ep      t of the ancient communities who were, as much right to be there as
      30                   anyone el who cr te the space for tolerance and diversity and a real authentic
      31                   pluralism th without that, you’re never going to have healthy nationalism on the
      32                   basis, it’s go g to divert back to tribal and ethic allegiance. That’s been my
D

      33                   argument all ong. I can stop there and answer some more specific questions, but
      34                     is story go s on to this moment about what we’re doing.
      35
      36    AK:            What, h, got to this moment, and what are you referring to in terms of, uh, I’m
      37                   with you into sort of your vision and cause? Uh, but what are you referencing up
      38                   to this moment, just in the Middle East, or what you’re doing or both or?
      39
      40    JF:            So the Vice President has already decided a place in his own conscience and
      41                   priorities around these issues as well. The Vice President is, we served together a
      42                   long time, he is a friend.
      43
      44    AK:            Okay.
                                                            16
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011463
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       1    JF:            Working with their office and the President’s office, uh, Mick Mulvaney [PH] in
       2                   particular, we’ve been able to move funding out of multi-lateral institutions into
       3                   direct assistance to these beleaguered communities.
       4
       5    MJ:            What does that look like in practice, what is that?
       6
       7    JF:            It means money away from the U.N.
       8
       9    MJ:            Yeah.
      10
      11    JF:            Directed at organizations who are helping these co muniti      rebuild, cause there’s
      12                   400,000 Yezidi’s still trapped in camps in, in Iraq.




                                                            T
      13
      14    MJ:            Four-hundred thousand?
      15
      16    JF:            They’re, they’re, yes, the, as of last sum er, 35 0 0 Yezidi women were still held
      17                   as sex slaves by Isis. Who knows wh th number is now? The Christian
      18
      19
      20
      21
                               AF
                           community scattered, a lot of it trapped in K distan safe, but desires of returning
                           in particular to Mosul and t e rrounding area or in, in some ways being taken
                           care of through churches an comm ity basemen in Lebanon and Jordan. So
                           this is putting great stress on he gover m         of Lebanon, on the government of
      22                   Jordan, both of them we give s stan al aide to. It creates great stress on the Iraqi
      23                   Government, pa         he reason        the Iraqi ambassador and his foreign minister
      24                   want to meet ith me night.
      25
      26    MJ:            Uh huh.
 R
      27
      28    JF:            They called y      rday and I assumed that’s why UI this is our last conversation. To
      29                      uy      point, t ugh, um, at the behest of the Vice President’s Office, I went to
      30                   Iraq last s mer, al       Sam Brown Beck [PH] who’s now the ambassador, former
      31                   senator, for er Governor of Kansas, now the Ambassador for International
      32                   Religious Fr dom at the State Department, along with Mark Green, former
D

      33                   Congressman former Ambassador to Tanzania, who now runs the United States
      34                      ency for nternational Development, where these funds are floating through,
      35                   ok       T idea was is it working, cause there were frankly there were some
      36                   stumb s out of the gate?
      37
      38    MJ:            Sure.
      39
      40    TG:            Who would get that and the chronology is I understand it before you go to
      41                   California, you’re in route and you--- [OV]
      42
      43    JF:            Yeah.
      44

                                                            17
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011464
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                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    TG:            And you received an award from the Pope?
       2
       3    JF:            No.
       4
       5    TG:            Not yet?
       6
       7    JF:            No.
       8
       9    TG:            All-right. Well then, we’ll go back to Paris.
      10
      11    JF:            Okay.
      12




                                                             T
      13    TG:            You had your second meeting.
      14
      15    JF:            Okay.
      16
      17    TG:            You follow than on out.
      18
      19
      20
      21
            TC:

            JF:
                                 AF
                           If I may inject, how friendly i

                           I have no idea. I got curious
                                                             h Gilbert Chag

                                                             to why o
                                                                               ry with the Pope?

                                                                           ould ask that? That’s an allowable
      22                   question, right?
      23
      24    MJ:            They’re allow ble que ons, I alw ys say that.
      25
      26    TC:            Yeah.
 R
      27
      28    MJ:            Most of them e just met with polite nods, um, so yeah we can answer that
      29                   quest   but I’m lso not sure why you ask that?
      30
      31    JF:            I answered y ur question, I asked you a question.
      32
D

      33    MJ:            Yeah, sorry, s very, uh, unilateral. You can ask all the questions you want. We
      34                    ften will-- OV]
      35
      36    TC:            He’s t     ambassador to the Holy City.
      37
      38    MJ:            Yeah, I don’t actually know the answer to it.
      39
      40    TG:            Right. Uh, uh, but not for Lebanon, right?
      41
      42    TC:            No.
      43
      44    TG:            From where?
                                                             18
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                               JF00011465
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            File Number:
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       1    TC:            St. Lucia.
       2
       3    TG:            Right, I remember that now.
       4
       5    TC:            Yes.
       6
       7    TG:            Right.
       8
       9    MJ:            See, it was a quiz, it was apparently a quiz.
      10
      11    [Laughs]
      12




                                                             T
      13    MJ:            Okay, uh, back to Mr. Gowdy’s question.
      14
      15    TG:            But it’s UI, I, I mean it would help m o explain th intentionality of your, your
      16                   question, your prose.
      17
      18
      19
      20
      21
            MJ:

            TG:
                                  AF
                           Yeah, no, I get the request and that’s what I m you can make them, but UI

                           Can you help me?

      22    MJ:            [laughs]
      23
      24    TG:            I think the b st chron logy may be to go through California, unless I missed
      25                   something
      26
 R
      27    JF:            Trey, we al     dy    vised UI.
      28
      29    TG:              nles      missed   mething, you’ve only had two meetings with him in your life?
      30
      31    JF:            Correct.
      32
D

      33    TG:            Though I thin they'
      34
      35    TG:            Un     sI    issed something, you’ve only had two meetings with him in your life?
      36
      37    MJ:            Correct.
      38
      39    TG:            Okay, so I think they’re interested in both of those and we cover both of those.
      40
      41    MJ:            Okay.
      42
      43    TG:            And then they’re three events in California that I think they’re interested in.
      44

                                                             19
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       1    MJ:            Okay.
       2
       3    JF:            Can I just wrap up the Iraqi thing you asked me to, why is this relevant to this
       4                   moment?
       5
       6    MJ:            Sure.
       7
       8    JF:            So I went to Iraqi. When I came back from Iraqi, go look a the public statements,
       9                   they’ve been everywhere and I keep making them. I sai hings pub, I said there’s
      10                   three words that describe the situation, and rememb            at we’re trying to do is
      11                   we’re trying to help restore the rightful place of the ligiou inority communities
      12                   in Iraqi society. There is actually some moment on this in th Iraqi Government




                                                            T
      13                   itself. I had that conversation directly with he prime minister he ambassador
      14                   was sympathetic. There is movement a they’re part of the gr d questions
      15                   because, again, these communities rep ent part of he ancient tradition and there
      16                   are interconnectedness between the Mu m tradi n, and they make an important
      17                   contribution. Anyway, I came back and I id It’s possible they can return.” Do
      18
      19
      20
      21
                               AF
                           you remember why it’s important that they turn? For this broader reasons of
                           healthy nationalism, princip
                           backing militias. There’s a cuum
                                                               f human digni y itself. Iran is all over the area,

                           bridge over to Lebanon; fourt is this i p
                                                                      re Third i Iran is trying to build a land
                                                                             g stress on the Iraqi Government in
      22                   Kurdistan’s Central Governme be use of the refugee status and finally, again,
      23                   you’re going to          ut, put m      pressure on UI migration that com, which
      24                   complicates r situati in Amer a, and in particularly for Europeans. That’s the
      25                   reason yo can pick a one of the but these are reasons that this is important.
      26                   So, um, hen I cam ba k I said i s possible they could return, the situation’s
 R
      27                   urgent, it d ends n the secur y. I’ve been in dialog with the general who was
      28                   overseeing th      eration of Mosul. The Iraqi Army has fought valiantly and fought
      29                      f Is    ith our cking. Uh, he agreed complete with my assessment. It seemed
      30                   to me the      plest th g to do was set up a training mission, you can call it Counter-
      31                   terrorism M sion, which you integrate Christians and Yezidi’s into Iraqi
      32                   Government curity Forces, U.S. help and international partner’s help. We’ve got
D

      33                   72 coalition p tners in Iraqi now. That’s what I propose. It was amendment in the
      34                       tional De nse Authorization Act last week, it will be a separate resolution…it
      35                   has lrea passed the House of Representatives. Again, these resolutions lay down
      36                   a mar r and create the conditions in which the policy people primarily part of
      37                   Pentagon and National Security Council can respond. I had the same conversation
      38                   with John UI….it’s a larger meeting, not intimate with a larger view. That’s, that’s
      39                   the point, these issues continue to today.
      40
      41    AK:            Fair enough?
      42
      43    TG:            Fair enough. All-right. Now do you understand you were interested in this space
      44                   which is singular in Congress?
                                                             20
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                    JF00011467
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                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            So, uh, you wanted me to go…so 2015, we actually UI the memorial miraculously
       2                   done.
       3
       4    MJ:            Uh huh.
       5
       6    JF:            And put it and sold it the day before the 71st anniversary of D-Day on Utah Beach.
       7                   I was just there for the 75th. It was on the UI House Speaker Pelosi went back and
       8                   saw it and people flocked to it. It’s real. It’s the Higgins b at, soldiers and UI are
       9                   cast charging off of it. I’m standing there in my suit jus looking at it. People are
      10                   like “Can I go on this please?”
      11
      12    MJ:            Uh huh.




                                                            T
      13
      14    JF:            So I’m very proud of this, but that wraps p that part of it but you n see why I
      15                   was in Paris for that, for that reason. Um, and so th t was 2015. So we start the
      16                   Genocide Resolution and then it passes 2016 mewhere I think in either 2015
      17                   it might have been, it was probably 2015, te 015. Um, I talked to Toufic and I
      18
      19
      20
      21
                                 AF
                           said “Toufic are there people out there who m ght be interested in supporting me,
                           that are part of this broade c munity?” And remember vividly he said “You
                           never ask us for anything.” es.

      22    MJ:            Hmm.
      23
      24    JF:            Trey can tell ou that o e the mos gonizing parts of this job is running every two
      25                   years and just takes p ople who b ieve in me to UI it’s just part of our system.
      26
 R
      27    MJ:            Uh huh.
      28
      29    JF:             ow      ve to do I don’t particularly care for it. I’d rather be a policy guy and
      30                   work in th Diplom ic National Security Space, but the reality is they have to have
      31                   people who nt to help them.
      32
D

      33    MJ:            Uh huh.
      34
      35    JF:             So he p itical apparatus at home somewhat, they have somewhat of a political
      36                   appar us appearance, it’s really not that vibrant to be honest with you…it ought to
      37                   be more vibrant but we do what we can. I just noticed that my time is occupied
      38                   with the primary reason that I’m here.
      39
      40    MJ:            Who runs both of those?
      41
      42    JF:            Me.
      43
      44    [Laughs]
                                                            21
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011468
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 22 of 84 Page ID #:528

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            No wonder, it’s yeah.
       2
       3    JF:            I mean I don’t outsource this. Now, at the time I had a UI, she’s no longer with me,
       4                   we transitioned to someone else in, uh, December, January, but so I have fundraiser
       5                   here, there’s something called PAC fundraisers, it’s pretty common I imagine, and
       6                   everybody has them. Uh, so she helped me here…she, uh, I asked her to actually
       7                   help coordinate the opportunity to go out to Los Angeles, which is arose from
       8                   probably from that conversation.
       9
      10    MJ:            And who, uh, who’s the, who’s the then fundraiser th s ?
      11
      12    JF:            Uh, Alexandra, uh. [pauses] Sorry.




                                                            T
      13
      14    MJ:            Yeah, no problem. It’s good.
      15
      16    JF:            UI Kendrick [PH].
      17
      18
      19
      20
      21
            MJ:

            JF:
                                AF
                           Alexandra, uh

                           Kendrick [PH].

      22    MJ:            Okay.
      23
      24    TC:            Did it have h consult g firm wh n you looked it up, cause you said she was, uh,?
      25
      26    JF:            Well, sh she, one of e asons tha we’re not together anymore, she actually sold
 R
      27                   her firm. S ’s sti doing the w k, but she sold her firm to a bigger firm, and, and
      28                   the business m el just wasn’t a fit for her.
      29
      30    TC:            I see.
      31
      32    JF:            Um, I, I think ’s Axium [PH], the firm she’s with now. I mean she has her own
D

      33                   firm, but it’s der the umbrella of this UI, but don’t hold me to that, cause I’m not
      34                      re. So sh was a smaller, 5 to 10 clients, something like that. High Cotton
      35                   Co ulti was the neighbor.
      36
      37    MJ:            That was the one then and Axium [PH] is the one now?
      38
      39    JF:            I think it still exists, but she was bought by this larger firm and that’s the reason
      40                   that I switched. I said Alexandra, we just, I like to be working with the principal.
      41    MJ:            Sure.
      42
      43    JF:            So they have employees and they get assigned UI and they’re usually younger
      44                   people.
                                                            22
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011469
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 23 of 84 Page ID #:529

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1
       2    MJ:            Yeah.
       3
       4    JF:            It’s just not a fit for me.
       5
       6    MJ:            Yeah. Um, so Toufic and you have a conversation about, um.
       7
       8    JF:            Drew was there, too.
       9
      10    MJ:            Okay, Drew and what was, uh, this is 2015 I think yo s d
      11
      12    JF:            I think so.




                                                             T
      13
      14    MJ:            Around?
      15
      16    JF:            It must have been late 2015.
      17
      18
      19
      20
      21
            MJ:


            JF:
                                AF
                           Okay. And what is, uh, you mentioned his na a few times, uh, what was his role
                           in 2015, or has it changed?  i k you said he w sn’t with you anymore.

                           Drew, uh, is no longer with m He re gn last fall to, uh, start his own kind of
      22                   consulting. I actually saw him ste ay, he was in Gus UI office. He was part of
      23                   the delegation th       helping t nternational Association of the Holy UI. Sorry
      24                   to give you s many d ils---
      25
      26    MJ:            ---uh hu
 R
      27
      28    JF:            ---but there’s    here. It’s a patriarch of Jerusalem came to Capitol Hill yesterday.
      29                      hy,    ause th State Department is having a ministerial. Sam Brownback [PH],
      30                   the Amba ador fo International Religious Freedom is having a gathering of
      31                   foreign mini ers or religious leaders to talk about this space of religious freedom
      32                   and tolerance o you can see there is a growing consideration that this principle of
D

      33                   tolerance is c mpletely intertwined with human dignity so Trey doesn’t like me
      34                     ying this but frankly incrementally we’ve been actually creating some
      35                   ext ordi rily good outcome here. Remember what I said we were on national TV
      36                   saying his would elevate [OV]
      37
      38    TG:            It’s not that I don’t like you saying it
      39
      40    JF:            [Laughs]
      41
      42    TG:            It’s that I think they have a set of questions that, that---
      43
      44    JF:            ---all-right---
                                                              23
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011470
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 24 of 84 Page ID #:530

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1    TG:            ---we want to answer [OV]
       2
       3    JF:            Do you want me to stop talking?
       4
       5    TG:            You think firmly believe that you believe what you have UI, I am convinced.
       6
       7    MJ:            And sounds effective to your point and ongoing. Um, but yeah, if we could just
       8                   back to the conversation where you and Mr. UI and it so nds like Mr. Bowling
       9                   [PH], um, have a conversation.
      10
      11    JF:            It was at night---
      12




                                                               T
      13    MJ:            ---okay.
      14
      15    JF:            Drew, staff members have to volunteer here’s a on volunteer to do this.
      16
      17    MJ:            Okay.
      18
      19
      20
      21
            JF:

            MJ:
                               AF
                           So and I just said can you,     n    u help?

                           Yeah and so, uh, you mention d at nigh an    ff members have to volunteer to do
      22                   it, cause what was Drew’s actu role did he have a title in 2015?
      23
      24    JF:            Yeah, UI I h e to bac and look           exact title.
      25
      26    MJ             Okay.
 R
      27
      28    JF:            I do remembe         hen he came to me and asked to change his title.
      29
      30    MJ:            Okay.
      31
      32    JF:            Because he p bably had the title of staff assistant and then probably moved to
D

      33                   adviser or se or adviser. He told me a couple of years in because you know the
      34                     eractions s my aide and the level of interaction he was having he said,
      35                   “C gre man, this title is not consistent with what I’m doing.”
      36
      37    MJ:            Sure.
      38
      39    JF:            It impedes my ability to have some credibility when I’m talking.
      40
      41    MJ:            Got it.
      42



                                                               24
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                            JF00011471
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 25 of 84 Page ID #:531

                                                      UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            I said, “Yeah, we’ll change, change it.” So I don’t remember exactly where it ended
       2                   up, but we did change it from what would indicate just an aide position UI I think
       3                   advisor was UI.
       4
       5    MJ:            Okay, um, but he wasn’t your fund raiser?
       6
       7    JF:            No.
       8
       9    MJ:            And so this is something he was doing sort of, uh, after t pically--- [OV]
      10
      11    JF:            ---correct---
      12




                                                             T
      13    MJ:            ---typically after no help out on other stuff af r hours?
      14
      15    JF:            Correct.
      16
      17    MJ:            Um, and so I think you mentioned, um, yo an Toufic had a conversation and he
      18
      19
      20
      21
                                 AF
                           said something to the effect of “you know yo ever ask us for stuff” and you sort
                           of UI to the topic. Do you
                           lot of people?
                                                             mber who brou t up LA and/or LA just cause a


      22    JF:            No.
      23
      24    MJ:            Okay.
      25
      26    JF:            I don’t.     o there, th   eb nese, there’s a very large Lebanese community there.
 R
      27
      28    MJ:            Okay.
      29
      30    JF:            But I’m, I      sorry, don’t have a memory of why that connectedness? I just don’t.
      31
      32    MJ:            Sure.
D

      33
      34    JF:               t the rea n is there is just a lot of people, again, of Lebanese origin, like first,
      35                   sec d, th rd generation that make that their own.
      36
      37    MJ:            Makes sense. And then, um, do you remember sort of, yeah, just keep going with
      38                   that narrative how that develops into whatever it develops.
      39
      40    JF:            Well, a, again, I’m a member of Congress, I’m trying to policies so we turn that
      41                   over to Alexander UI.
      42
      43    MJ:            Okay.
      44

                                                             25
                                                      UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                    JF00011472
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 26 of 84 Page ID #:532

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            She provided some work, even though that wasn’t really her expertise, I just asked
       2                   her to help me to go out there and be with me cause I don’t do this a whole lot.
       3
       4    MJ:            Sure.
       5
       6    JF:            And, um, so I didn’t know       ,           and it wasn’t at his home.
       7
       8    MJ:            Okay.
       9
      10    JF:            It was at       uh,       ’s [PH] home.
      11
      12    MJ:            Did you know the            [PH], did you know that person?




                                                               T
      13
      14    JF:            No.
      15
      16    MJ:            Okay. And then did Drew also, you sor f said u sort of delegated or handed it
      17                   off to Alexandra. Did Drew also participa in rt of arranging this aspect of it, or
      18
      19
      20
      21
            JF:
                                 AF
                           this, uh, the LA?

                           It’s not clear to me how he d       but y   he was pro he was in dialog with Toufic.

      22    MJ:            Okay.
      23
      24    JF:            There’s a co ple of em ils that I        d from UI he said, “yes, everything’s coming
      25                   along fine” with all tha
      26
 R
      27    MJ:            Okay. Cau        --[O ]
      28
      29    JF:              hin       have tho
      30
      31    MJ:            And if I rem mber correctly it was Drew who introduced you to UI so they clearly
      32                   had some?
D

      33
      34    JF:              m not quit sure, but probably.
      35
      36    MJ:            Okay Um, but it seemed like they had some preexisting relation for her?
      37
      38    JF:            Yes, exactly, because remember Andrew Doran [PH] who’s at State---
      39
      40    MJ:            ---yeah---
      41
      42    JF:             ---working on some of these and Drew are close friends.
      43
      44    MJ:            Okay.
                                                               26
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011473
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 27 of 84 Page ID #:533

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            So they were all in this policy experience.
       2
       3    MJ:            And the [OV]
       4
       5    JF:            Andrew Dornan [PH], by the way, went to the same school I went to, but I didn’t
       6                   know him.
       7
       8    MJ:            Um, okay, and where’s, what’s Dorman [PH] doing now?
       9
      10    JF:            He’s at the policy planning arm of the State Depa m t which reports to the
      11                   secretary.
      12




                                                            T
      13    MJ:            And during the, uh, time-frame where this is getting arranged an with the caveat
      14                   that you sort of delegated to have it get se up, um, did you at that ti [OV]
      15
      16    JF:            I didn’t really anything except come          d then   rew asked to come out and I
      17                   thought, yeah, you should come to this.
      18
      19
      20
      21
            MJ:
                               AF
                           Okay. And when you came        there what was y ur understanding of what you’re
                           coming out to, or who would e ther Was it a fun aiser at a house, kind of what
                           did you, what did they tell yo
      22
      23    JF:            Um, it was three     ; one wou d be a fundraiser, um at           ’s [PH] home
      24                   with the community; t o is and I m sorry, again, it’s not my memory is not clear
      25                   and I wasn t making d iberate dec ons to do these three things---
      26
 R
      27    MJ:            Sure.
      28
      29    JF:              jus     med lik his organically, this organic opportunity to do three things came
      30                   about, alth ugh the ird thing probably was asked to formally to give words at the
      31                   large Leban     community event, which I didn’t.
      32
D

      33    MJ:            Okay.
      34
      35    TG:            Wh h w      recorded.
      36
      37    JF:            Um, I’m sorry we move fast, I delegate, I hear this is coming together nicely, great
      38                   if I show up.
      39
      40    MJ:            Yeah.
      41
      42    JF:            And---
      43
      44    MJ:            What were the three things though?
                                                            27
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011474
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 28 of 84 Page ID #:534

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            Well, it was the fundraiser---
       2
       3    MJ:            ---uh huh---
       4
       5    JF:            ---at night…it, I, it was probably a Saturday night and then the next morning was
       6                   mass. I’m a Roman Catholic, these are, most of this community is Maran Right
       7                   Catholics, that’s the Lebanese liturgical tradition that is what we call the Full
       8                   Communion of Rome. So Pope Francis is their pope, b t they have separate
       9                   liturgical right, which I was eager, cause so it counts for me.
      10
      11    MJ:            Uh huh.
      12




                                                            T
      13    JF:            But I was eager to be with that community t see their liturgy, t       xperience their
      14                   UI, they, they say their prayers in Aramai
      15
      16    MJ:            Uh huh.
      17
      18
      19
      20
      21
            TG:

            JF:
                               AF
                           So is UI or with the church service?

                           It’s a church service…okay, m sor y

      22    TG:            And third?
      23
      24    JF:            Um, there is ome ga ring of t Lebanese community, which I think happens
      25                   regularly   might be n annual e nt, very large with, with multiple levels of
      26                   agenda, ’s just a    h ing of th Lebanese community and I was invite to
 R
      27                   participate that well, that l lunch, lunch.
      28
      29    TG:              of      iser at    other end UI?
      30
      31    MJ:            Did you get    ked, um---
      32
D

      33    TG:            UI to know.
      34
      35    MJ:            No app ciate it. Um, did you get an award or a presentation, you mentioned you
      36                   spoke ords?
      37
      38    JF:            I did. This is, this is why one of the reasons that I think I raised this one, I didn’t
      39                   raise this one. Um, so undenounced to me what had happened was somebody
      40                   petitioned the Vatican on my behalf to give me what is to bestow this honorary gift,
      41                   this honor of being inducted in what’s called a Knight, The Knights of St. Gregory.
      42                   Honorary, ancient people order which is peculiar to us in our times because it’s an
      43                   anachronism, it’s from ancient time. You have a singular privilege by being
      44                   inducted into this order. You can ride a horse into the UI.
                                                             28
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                    JF00011475
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 29 of 84 Page ID #:535

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    TC:            St. George and the Dragon.
       2
       3    JF:            I did notice something else that I actually wore, so they gave me a presentation and
       4                   it’s, I actually wanted to bring it to show you UI, it’s like a military ribbon.
       5
       6    MJ:            Uh huh---
       7
       8    JF:            ---with a cross on it and then there’s a little pin, smaller tha this one that’s orange
       9                   and yellow and I wore it on my lapel when we visited P e Francis and something
      10                   peculiar happened; the Swiss guard saluted.
      11
      12    MJ:            Really?




                                                            T
      13
      14    JF:            [Laughs] So it’s part of the tradition. So nyway unbeknownst to      because the
      15                   bishop of the Lebanese church was ther Um, I lear d later that he called my own
      16                   bishop in Lincoln, Nebraska, who I kno person ly. “He said is Fortenberry all-
      17                   right?” He said, “of course.”
      18
      19
      20
      21
            MJ:

            JF:
                               AF
                           [Laughs]

                           So they, this somehow this pe ple, and          ice group of people who wanted to
      22                   do this for me because of all th wor , that’s the point.
      23
      24    MJ:            Yeah.
      25
      26    JF:            Because f all this w k
 R
      27
      28    MJ:            And do you r      mber the bishop in LA, do you remember his name?
      29
      30    JF:            Zaidan [P      He te nically lives in St. Louis, uh, but he’s the present in LA a lot.
      31
      32    MJ:            Okay.
D

      33
      34    JF:               ere’s two Lebanese bishops in America; one on this, he’s in New York, it might
      35                   be w J sey, but, on the east and then there’s one for the west, but he’s, I think
      36                   his di ses and home is, is St. Louis but, I think most of that community is in LA,
      37                   so he spends significant time there.
      38
      39    TG:            The fundraiser UI bestowing, UI bestowing of this.
      40
      41    JF:            Yeah, but the event was not for me, it was just the large Lebanese community UI,
      42                   so there were multiple things going on UI. So I spoke, I gave a speech.
      43
      44    MJ:            But that’s where the award---OV
                                                             29
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                    JF00011476
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                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            ---yeah.
       2
       3    MJ:            ---was it ceremony or UI happened at that event? Okay.
       4
       5    JF:            Now you can imagine again that this is my faith tradition and I mean who am I and
       6                   all a sudden receiving this. This is very humbling, very moving.
       7
       8    MJ:            Indeed. Um, was Baaklini or UI were they at each of those         ents do you know, or
       9                   actually back it up I guess---[OV]
      10
      11    JF:            ---um---
      12




                                                                T
      13    MJ:            Taking it one step.
      14
      15    JF:            I’m almost certain.
      16
      17    MJ:            Okay.
      18
      19
      20
      21
            JF:

            MJ:
                                  AF
                           Both, I, I’m not sure, but I’        would have a le

                           Yeah, no, and I appreciate the ooperati n
                                                                                  of certainty, no, probably.


      22
      23    JF:            Yeah, almost de          y Toufic B klini was there.
      24
      25    MJ:            Okay….an then
      26
 R
      27    JF:            Probably
      28
      29    MJ:              nd       as, uh,    tially important question, so first at the fundraiser          was
      30                   there?
      31
      32    JF:            Yes.
D

      33
      34    MJ:               u were p sent?
      35
      36    JF:            He pi      d me up at the airport.
      37
      38    MJ:            Okay,
      39
      40    JF:            Yeah.
      41
      42    MJ:            Was, uh, Mr. Baaklini there at the fundraiser?
      43
      44    JF:            He must have been. I’m sorry I don’t remember.
                                                                30
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                     JF00011477
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                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Yeah.
       2
       3    JF:            But he…huh.
       4
       5    MJ:            I just want to separate-out my questions.
       6
       7    JF:            Don’t, don’t, don’t hold me to that, cause I don’t, don’t remember.
       8
       9    MJ:            Yeah. No, qualifications are totally appropriate especiall for something, uh, cause
      10                   we’re in 2015ish. Um, and then at the, the mass, do y u member [OV]
      11
      12    JF:            It should be 2016.




                                                            T
      13
      14    TC:            2016.
      15
      16    JF:            It would be early 2016.
      17
      18
      19
      20
      21
            MJ:
                               AF
                           Okay and February of 2016. Uh, do you rem mber if
                           the next day? Did you s
                                                                                        was at that mass
                                                          f think they w ld be there, but don’t have an
                           independent recollection wit that?

      22    JF:            I have an independent recollect n it i highly likely. I, I don’t, I think we got there
      23                   on our own as I      because              had taken us from the airport and helped,
      24                   uh, Alexandr also in nsportat n and taking us to the event.
      25
      26    MJ:            Uh huh.
 R
      27
      28    JF:            I’m just not re ling. No, no, no, I’m so, there was another gentleman who drove
      29                     . T     eason I member now is cause I left my cellphone in his car.
      30
      31    MJ:            Uh huh.
      32
D

      33    JF:            I was just UI
      34
      35    MJ:            Uh uh
      36
      37    JF:            But I’m not recalling if he drove us at one point so I, probably.
      38
      39    MJ:            Okay.
      40
      41    JF:            But I’m not remembering.
      42
      43    MJ:            And at some point            did transport you to places, you’re just not sure which
      44                   time this other person also?
                                                            31
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011478
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 32 of 84 Page ID #:538

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            I totally, sorry, he picked me up at the airport I remember that UI and then drove
       2                   us to the, uh, to the event.
       3
       4    MJ:            And Mr. Bowling was he present at the fundraiser, at the other?
       5
       6    JF:            Probably.
       7
       8    MJ:            Okay. Is that also something typically that Alexandria wo d at collecting checks
       9                   or doing some fundraiser stuff?
      10
      11    JF:            Well, yes, but remember this is a very unique kind f thing
      12




                                                            T
      13    MJ:            Yeah.
      14
      15    JF:            I don’t do a lot of this, so the times I h e done fun aisers I do one in Louisiana,
      16                   honestly, every year.
      17
      18
      19
      20
      21
            MJ:

            JF:
                           Okay.
                                  AF
                           My mother lives in Louisian it’s k d of a fit. I
                           done them in Detroit. I handle all that n
                                                                              done them sporadically, I’ve
                                                                        own. I’ve done them in New York,
      22                   uh, I’ve had people with me the
      23
      24    MJ:            Okay.
      25
      26    JF:            But it’s p tty unusu     o me to do something of that size.
 R
      27
      28    MJ:            Okay.
      29
      30    JF:            As I’ve on Dallas.
      31
      32    MJ:            So would tha mean that? [OV]
D

      33
      34    JF:               but beca e of the size and nature of it, I said “Alexandria [Alexandra] can you
      35                   help with his”?
      36
      37    MJ:            Yeah, and so I was just saying does that also mean help by being there and?
      38
      39    JF:            Yes.
      40
      41    MJ:            Okay.
      42
      43    JF:            And coordinating the administration of getting checks and the information on
      44                   people that are standard procedures.
                                                            32
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                JF00011479
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 33 of 84 Page ID #:539

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1
       2    MJ:            Got it. Okay. And then sort of backing up one a little bit to IDC itself, um, you
       3                   mentioned when you first met Chagoury it was sort of in the context of, um, through
       4                   Baaklini, and you had that engaging conversation, was it directly related to IDC
       5                   like an event, or asking you to be a part of or UI?
       6
       7    JF:            I don’t know why he was in town, I just ---
       8
       9    MJ:            ---okay---
      10
      11    JF:            He just suggested that we should visit him more.
      12




                                                             T
      13    MJ:            And do you know [OV]
      14
      15    JF:            It could have been, I just don’t know.
      16
      17    MJ:            Okay. And then prior, uh, when Special g      Carter interviewed you, did you
      18
      19
      20
      21
                               AF
                           have an idea of what Chagoury’s role was w IDC, you mentioned Baaklini had
                           sort of an executive level p i
                           any kind connection to IDC?
                                                           or something, ut do you know if Chagoury had


      22    JF:            Well, let’s, let’s, uh, I have no, m n trying to tell you anything other than I don’t
      23                   already know, b            t I don’t w t to do is say something that seem, might seem
      24                   inconsistent w th what old you t t night, so clear, I have no recollection of being
      25                   told that G bert is a pa of IDC.
      26
 R
      27    MJ:            Okay.
      28
      29    JF:             ut g        his pro mity to these people---
      30
      31    MJ:            ---yeah.
      32
D

      33    JF:            Given his rol n international affairs, I think it’s a safe assumption that I knew that
      34                     would pr bably lead an approximate to that organization somehow.
      35
      36    MJ:            Yeah.
      37
      38    JF:            I, I almost assured him.
      39
      40    MJ:            Okay.
      41
      42    JF:            Don’t ask me to define that---
      43
      44    MJ:            ---yeah---
                                                             33
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011480
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 34 of 84 Page ID #:540

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1
       2    JF:            Cause I don’t know.
       3
       4    MJ:            When and how?
       5
       6    JF:            Yeah.
       7
       8    MJ:            That’s fine. Um, and I think---
       9
      10    JF:            It’s that fair enough?
      11
      12    MJ:            And I think you also mentioned in the last interview and sort o     day, so you knew




                                                             T
      13                   Chagoury was not a U.S. citizen, correct? Uh—
      14
      15    JF:            Well, I thought that he wasn’t a U.S. ci zen.
      16
      17    MJ:            Thought he was not a U.S. citizen?
      18
      19
      20
      21
            JF:

            MJ:
                           Yeah.
                                AF
                           And then you, is this in 2015, r when y u        t him?
      22
      23    JF:            Well, again, I’m    king peop when you meet them are you a U.S. citizen, I’m
      24                   having conve ation.
      25
      26    MJ:            Sure.
 R
      27
      28    JF:            So he’s got a izenship as a, either refresh my memory or I went back what I
      29                    arn when I r d about him when you guys were.
      30
      31    MJ:            Yeah.
      32
D

      33    JF:            Talking to m     bout it. Uh, in Nigeria as I recall.
      34
      35    MJ:            Ok
      36
      37    JF:            Is it Nigeria, is he a citizen of Nigeria?
      38
      39    MJ:            Um, I will say that is factually correct, um, but I’m interested yeah, sort of a UI
      40
      41    JF:            But when I [OV]
      42
      43    MJ:            When you learned it [OV]
      44

                                                              34
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011481
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 35 of 84 Page ID #:541

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            I was talking to Trey I went back and looked and that either refreshed my memory,
       2                   or I knew it and forgot it.
       3
       4    MJ:            Okay.
       5
       6    JF:            Um, but he is from Lebanon. I knew he had a house in LA and I either knew that
       7                   he was not a citizen or made the assumption.
       8
       9    MJ:            Okay. And then the, uh, going back to what we were talk ng about the fundraisers,
      10                   uh, how does it, when do you learn sort of how we d You know is there, uh,
      11                   does Alexandra or Drew tell you, hey, we did gre , you g five dollars, you got
      12                   fifty dollars, you got five-hundred thousand dollars, how does at get conveyed to




                                                           T
      13                   you after or when in the fundraiser?
      14
      15    JF:            Well, when you go to a far way place a d take a lot f time, it has to be worth your
      16                   while.
      17
      18
      19
      20
      21
            MJ:

            JF:
                           Sure.
                                AF
                           So you’re not gonna go trave for a       sand dollar

      22    MJ:            Yeah
      23
      24    JF:            It might be w rth to tr el for a te thousand dollar---
      25
      26    MJ:            ---yeah-
 R
      27
      28    JF:            ---fundraiser.  is one, I’m sorry I was going to look before I came, but I didn’t
      29                    ave     ance. U it was, it was a substantially bigger one for me because it was,
      30                   I could g ack an look, but I think it was between thirty and forty thousand
      31                   dollars.
      32
D

      33    MJ:            Okay, so if I   ld you it was thirty-six thousand dollars that you would be right in
      34                      range?
      35
      36    JF:            UI
      37
      38    MJ:            Um, and how does that, do have a recollection of sort how that’s conveyed to you,
      39                   or did you have a conversation right after with, uh, Alexandra or Drew like hey,
      40                   there’s a lot of people there? How did the checks come in or?
      41
      42    JF:            Of course, that’s normal.
      43


                                                            35
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011482
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 36 of 84 Page ID #:542

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Yeah, and at some point sort of just try to identify how early on you learned that
       2                   oh, it was successful, it wasn’t a bust, we didn’t waste our trip to LA. I know you’re
       3                   doing a couple other things, but---
       4
       5    JF:            I don’t remember but it must have been proximate to that.
       6
       7    MJ:            Okay and in your sort of assessment was?
       8
       9    JF:            Remember Alexandria was handling the checks and all         that.
      10
      11    MJ:            Sure, um that’s why I figured you would have talk d to som ne about, “Hey, you
      12                   know, was it worth our time or it’s great or we should come b k?” So it sounds




                                                            T
      13                   like at some point you have do have some co ersation to that.
      14
      15    JF:            UI I have some conversations with them saying you know it’s got to be worthwhile
      16                   to go there.
      17
      18
      19
      20
      21
            MJ:

            JF:
                               AF
                           Sure.

                           I mean that’s what you, that what y      do when y ’re raising funds.

      22    MJ:            Yeah and so at some point that ou l rned that it seemed it was worthwhile?
      23
      24    JF:            Yeah.
      25
      26    MJ:            Okay. U and did u h ve a sens of who to attribute that to, meaning, um, you
 R
      27                   went to LA um meone s id unclear who, Drew and Alexandra sort of did.
      28                   Drew and Al ndra and maybe Toufic sort of set up this fundraiser right? And
      29                     en      ds up t t it’s, uh, we have the, uh, cha, cha, cha, flyer, but it basically
      30                   says it’s              d you mentioned the other name.
      31
      32    JF:            Chagoury.            [PH]
D

      33
      34    MJ:               they are ou know, the hosted, I know something about fundraising.
      35
      36    JF:            Can I     e it?
      37
      38    MJ:            Sure. Let me just.
      39
      40    JF:            I remember if people put out their own flyer without us seeing it, we don’t have to
      41                   approve it. If I see it myself, there has to be a disclaimer---
      42
      43    MJ:            Sure---
      44

                                                            36
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011483
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 37 of 84 Page ID #:543

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            ---at the bottom.
       2
       3    MJ:            Yeah, so this one came from Kendrick [PH].
       4
       5    JF:            Okay.
       6
       7    MJ:            Jenkins. There’s a note with, uh, do you [OV]
       8
       9    TC:            I’ll give it you.
      10
      11    MJ:            With the page number.
      12




                                                              T
      13    TC:            It’s the slide
      14
      15    JF:            You can see the disclaimers at the bott m.
      16
      17    MJ:            So that looks like something that would ha      c me from [OV]
      18
      19
      20
      21
            JF:

            MJ:
                                AF
                           That’s the standard procedu

                           You know, you highlighted th point w h           ints out.
      22
      23    TC:            It’s in the Powe
      24
      25    JF:            Um, do ha e it Trey?
      26
 R
      27    MJ:            And so the my q stion is you make this trip to LA sort of maybe sight unseen or
      28                   not sure how     going to work out, but if it works out well, do you have a sense of
      29                     ho      ank for t, or hey, this is great, we should do it again when like you said
      30                   I’m runni every o years basically, we need to do this again. Who was your
      31                   sense of, to, ain, either thank or make sure let’s do that again some time?
      32
D

      33    JF:            Well, I thank       everybody who was there, it’s what we do.
      34
      35    MJ:            Su
      36
      37    TG:            Can I ask you one question?
      38
      39    MJ:            Yeah.
      40
      41    TG:            For a thirty-six thousand dollar fundraiser, what would you have netted? Do you
      42                   have to pay the fundraiser?
      43
      44    JF:            Yeah.
                                                              37
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011484
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 38 of 84 Page ID #:544

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1
       2    TG:            Around 4 percent.
       3
       4    JF:            We paid Alexandra something, obviously UI her expenses.
       5
       6    TC:            You were working like one, or 8 or however? It’s just an exhibit.
       7
       8    TG:            She gets a percentage of it.
       9
      10    JF:            Right. Of what Trey is UI right?
      11
      12    MJ:            Right.




                                                             T
      13
      14    TG:            And your own expenses to travel and fly
      15
      16    JF:            Right.
      17
      18
      19
      20
      21
            TG:


            JF:            Right.
                                  AF
                           Did you make any phone calls to potential cu omers in connection with this fund
                           UI? So that was out-source    whoever the hos were?


      22
      23    TG:            For whoever yo           draiser wa
      24
      25    JF:            Right.
      26
 R
      27    MJ:            Okay and t n did you have a c ntract with Kendrick [PH], like is that, is there a
      28                   commission o   rcentage like?
      29
      30    JF:            Yes.
      31
      32    MJ:            Okay, so that probably in there somewhere?
D

      33
      34    JF:               re, I’m ju not recalling it.
      35
      36    MJ:            Yeah, o---
      37
      38    JF:            Yeah, I mean we, huh, I can’t remember Trey.
      39
      40    MJ:            Um.
      41
      42    JF:            It’s probably 10 percent of what’s raised, plus her monthly fee. I think that was our
      43                   contract, 10 percent of what’s raised, plus her monthly fee.
      44    MJ:            Okay. And where, um, where did you stay? You were there for a couple of days.
                                                                 38
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011485
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                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1
       2    JF:            Right. Okay. You guys got to understand something. I try to save money whenever
       3                   I can.
       4
       5    MJ:            Sure.
       6
       7    JF:            I stayed with an old friend of mine named Matt Malic [PH] on his couch.
       8
       9    MJ:            Okay. I’ve, I’ve heard some politics.
      10
      11    JF:            Have you seen the movie “Silence?”
      12




                                                              T
      13    MJ:            I don’t think so.
      14
      15    JF:            Who is the, there’s a controversy over      e filmmake Scor, uh, Scorsese.
      16
      17    MJ:            UI
      18
      19
      20
      21
            JF:

            MJ:            Okay.
                                AF
                           It’s his last film.


      22
      23    JF:            So Matt had som          ’s a hunk o    fellow and has some role in that film.
      24
      25    MJ:            Okay.
      26
 R
      27    JF:            He gave m he T hirt.
      28
      29    MJ:             aug
      30
      31    JF:            If we can tak UI.
      32
D

      33    MJ:            Yeah.
      34
      35    JF:            T-s rts f    example.
      36
      37    MJ:            I’ll note that for the record.
      38
      39    JF:            [laughs]
      40
      41    MJ:            Okay, um---
      42
      43    TG:            Would you guys mind, I want to get UI?
      44

                                                              39
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                            JF00011486
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 40 of 84 Page ID #:546

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Sure, yeah, take your time.
       2
       3    TG:            All-right.
       4
       5    MJ:            Um, so in addition to sort of, you know, thanking people in person, I’m just trying
       6                   to get a sense of, uh, if you wanted to do the same thing, have a similar or more
       7                   successful Los Angeles fundraiser, who would you go to set up something again?
       8
       9    JF:            Um, well I haven’t.
      10
      11    MJ:            Uh huh.
      12




                                                              T
      13    JF:            Except with, with one exception, um, the, th was one gentlem who we stayed
      14                   in touch with, he’s a young man, actually m almost certain we h dinner with
      15                   him…Eli Kai [PH], um, he helped me nice young usinessman and he probably
      16                   gave to me after that a year or two later, thousa dollars.
      17
      18
      19
      20
      21
            MJ:

            JF:
                               AF
                           Okay.

                           But he’s the only one I’m a
                           himself may have. Uh.
                                                             re of     that list tha   as given me any UI. Toufic

      22
      23    MJ:            Okay, and Eli K           E-l-i
      24
      25    JF:            K-a-i as I     call correc y.
      26
 R
      27    MJ:            And if, tho h, in addition to j t individual donors if you want to have another
      28                   fundraiser, wo   you go back to            or            [PH], or would you just
      29                     k A andria, Hey, whatever you did, do it again?” How would that sort of
      30                   work?
      31
      32    JF:            Well, I did ha     that conversation with        um,
D

      33
      34    MJ:              kay.
      35
      36    JF:            In 201       I went back and looked to make sure I talked and I now got those dates
      37                   right.
      38
      39    TC:            Oh, all-right.
      40
      41    JF:            And we had that conversation. Now he, there was some dynamic in which he was
      42                   contacted…he’s, he went to med school in Nebraska as I recall, so this a Nebraska
      43                   connection.
      44

                                                              40
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011487
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 41 of 84 Page ID #:547

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Okay.
       2
       3    JF:            So he has, he was either coming to see some relatives and wanted to try to get
       4                   together with a football and I couldn’t, but back to your point thinking, okay, maybe
       5                   I ought to do something again in LA...we talked about it.
       6
       7    MJ:            And you mentioned that was when, in 2018?
       8
       9    JF:            It was early.
      10
      11    MJ:            Okay. And was, it sounded like so was he visiting was than in-person
      12                   conversation, phone, email?




                                                             T
      13
      14    JF:            It was phone.
      15
      16    MJ:            Okay. And during that conversation, y sort           details worked out, or sort of
      17                   like ”Hey, um, may I look for your he a in, or you know, would you be
      18
      19
      20
      21    JF:
                                  AF
                           interested”, or what sort of actual conversation ook place if you remember, or what
                           you remember?

                           Um, I remember asking him i       e would        rested in doing this.
      22
      23    MJ:            Okay. How did            pond if yo    member?
      24
      25    JF:            This is, thi is where T y and I ha     alked.
      26
 R
      27    MJ:            Okay.
      28
      29    JF:              m,     be wan    g to provide some additional some information to you.
      30
      31    MJ:            Okay, I’m re dy if you are.
      32
D

      33    JF:            He said we c ld, he basically, I’m not really that clear on the exact words, but he
      34                    id the am unts, as I recall, the amounts wouldn’t be as large because Gilbert
      35                   wo t be nvolved.
      36
      37    MJ:            Um, and that was him in response to you asking about another fundraiser?
      38
      39    JF:            Yeah.
      40
      41    MJ:            Okay. What did, what did that mean and actually so what did he say again, sort of
      42                   tracked but?
      43


                                                             41
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011488
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 42 of 84 Page ID #:548

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            Well, I actually because I was concerned about the comment UI it to my wife and
       2                   talked to her about it and she remembers a little bit differently.
       3
       4    MJ:            Okay.
       5
       6    JF:            He said he would ask, have to ask Gilbert. I remember it as him saying the amounts
       7                   won’t be as large.
       8
       9    MJ:            Okay. Um, it sounds like to me, but I don’t put words in our mouth relating to the
      10                   fundraiser that you had, he had I guess co-hosted in 2
      11
      12    JF:            Right.




                                                            T
      13
      14    MJ:            And so how did you interpret that, um, from your prospective?
      15
      16    JF:            It, it caused me concern.
      17
      18
      19
      20
      21
            MJ:

            JF:
                                  AF
                           And can you tell?

                           Of course I didn’t know it. I may ha      UI

      22    MJ:            Okay. And at that time, you so of swered this question before, but you at least
      23                   assumed or knew      Chagoury, G lbert was a Foreign National and?
      24
      25    JF:            Of course
      26
 R
      27    MJ:            Oh [OV]
      28
      29    JF:             ook        t a set   assumptions yeah.
      30
      31    MJ:            Okay and I make some more assumptions, but correct me if I’m wrong, you’re
      32                   aware that Fo ign Nationals can’t contribute to campaigns or PACS---
D

      33
      34    JF:               s---
      35
      36    MJ             for?
      37
      38    JF:            He [Todd] asked me that question directly.
      39
      40    MJ:            Okay.
      41
      42    JF:            And he said how are you, how are you aware of it? I thought this was a peculiar
      43                   line of questioning from you [Todd].
      44

                                                             42
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                               JF00011489
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 43 of 84 Page ID #:549

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Uh huh.
       2
       3    JF:            I said “it’s the law.” I mean I’m a lawmaker, we have that on our disclaimer.
       4
       5    MJ:            Sure.
       6
       7    JF:            And this is what you have to do to be aware of these things so.
       8
       9    MJ:            And it’s a peculiar question, but definitely one that, uh, w always ask because, uh,
      10                   it is part of what individuals are interested in, in terms f e knowledge of the law.
      11
      12    JF:            Yeah.




                                                            T
      13
      14    MJ:            And when and sort of where it comes from Some people want to ju know it, um,
      15                   but are there ethics trainings, are there ou know, is t something [OV]
      16
      17    JF:            The treasurer’s mainly.
      18
      19
      20
      21
            MJ:

            JF:
                               AF
                           And what does it [OV]

                           It’s first they’re running for o ce.
      22
      23    MJ:            And [OV]
      24
      25    JF:            Do you kn w how mu h time you          ve to serve
      26
 R
      27    MJ:            [laughs]
      28
      29    JF:              try  to get to speed on all this stuff? I read the treasurer’s manual that
      30                   anybody o come nto the campaign, I say “read the treasurer’s manual.”
      31
      32    MJ:            Okay, so, um
D

      33
      34    JF:             would say a Federal Election Commission document, you could go look it up
      35                   yo elf d it’s, I don’t know how many pages it is now, but it’s a lot.
      36
      37    MJ:            Um [OV]
      38
      39    JF:            And the reason I ask people to do that is to sensitize, I mean you can’t remember
      40                   every line.
      41
      42    MJ:            Sure
      43
      44    JF:            But if you sensitize yourself into warnings signs.
                                                            43
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011490
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 44 of 84 Page ID #:550

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Yeah and that there’s a lot of rules and things to look out for.
       2
       3    JF:            You can’t use intu, intuition on this business, you can’t do that.
       4
       5    MJ:            Got it. Um, so it sounds like you’re very well aware of the rules, including the
       6                   foreign national one.
       7
       8    JF:            Yeah.
       9
      10    MJ:            And so when         responded either something ab u he money, either it was
      11                   about not the same amount of money, or having o talk   Gilbert, which ever
      12                   version.




                                                            T
      13
      14    JF:            Yeah.
      15
      16    MJ:            Um, did that give you reason to believ     hat Gilb rt had some way, had a role in
      17                   the first fundraiser?
      18
      19
      20
      21
            JF:

            MJ:
                               AF
                           It caused me concern.

                           Uh huh, about what?
      22
      23    JF:            That.
      24
      25    MJ:            Okay.
      26
 R
      27    TG:            UI your po
      28
      29    MJ:               kay nd wha nd did, would your wife participate or did you talk to you wife,
      30                   it sounds e your fe sort of heard part of the conversation?
      31
      32    JF:            No, no, I wen o her afterward.
D

      33
      34    MJ:              kay.
      35
      36    JF:            I stum d her.
      37
      38    MJ:            Okay. Um, and then take me through that you have the, I guess let’s finish the
      39                   conversation with, um,                 He gets on the phone, he says something about
      40                   Gilbert in relation to the first fundraiser, how does the rest of the conversation go?
      41
      42    JF:            Uh, again, that was discomforting to me so---
      43
      44    MJ:            ---okay---
                                                             44
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011491
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 45 of 84 Page ID #:551

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            ---so I ended the conversation.
       2
       3    MJ:            Um, did he clarify or say anything else, or provide any more details like, “Hey?”
       4
       5    JF:            No, it was just a UI, and this is, I think this is part, this is why talking about the
       6                   fullness of that weekend was important, cause they were different types of events.
       7
       8    MJ:            Yeah, you had a lot going on.
       9
      10    JF:            Yeah.
      11
      12    MJ:            Um, let me just see one thing would be…when and they you ay have said this,




                                                             T
      13                   when is this conversation with, um,       the fundraiser’s i February 2016,
      14                   according to the flyer.
      15
      16    JF:            Yeah, it’s about two years later. I don’t   membe xactly, but I have an email from
      17                   my campaign aide at the time.
      18
      19
      20
      21
            MJ:

            JF:
                           Okay.
                                  AF
                           And frankly, a lot of members f congr s           big political operations, I do not.
      22
      23    MJ:            Okay.
      24
      25    JF:            My policy work has be n my politi
      26
 R
      27    TG:            The enviro    ent   e re living in s probably going to have to change.
      28
      29    JF:             hat      t your p blem, it’s my problem.
      30
      31    MJ:            Okay.
      32
D

      33    JF:            So my aide, b ause I told him as we were sort of projecting out okay, how do we
      34                    ise enough money this year, maybe we ought go back to LA?
      35
      36    MJ:            Sure.
      37
      38    JF:            There’s, I went back and looked through my emails, there was an email from him
      39                   saying “Do you want me to contact the LA folks?” He might have said
      40                   as well, I don’t remember but and I said “No” that we’re not going to do that.
      41
      42    MJ:            And that was after this phone call with?
      43
      44    JF:            Yeah.
                                                             45
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011492
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 46 of 84 Page ID #:552

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Okay, got it.
       2
       3    JF:            Well, no, there were would be a couple of emails, cause again we were working on
       4                   trying to lay out a [OV]
       5
       6    MJ:            Yeah
       7
       8    JF:            How are going to meet fundraising goes through the year? And why don’t we LA
       9                   on the list, been a couple of years. I can’t remember if I h d two conversations with
      10                                 about a football game earlier, or a footbal g e in the middle of that,
      11                   this one, I just don’t remember, but I do remember his com ent.
      12




                                                              T
      13    MJ:            Okay, um, because it stuck out to you and ca ed you concern.
      14
      15    JF:            Yes sir.
      16
      17    MJ:            Okay and then it also caused you to eithe ak action, or sort of take inaction in
      18
      19
      20
      21
                                 AF
                           terms of setting something up in LA? It sou s like you were doing some laying
                           the ground work with you         paign aide an then at some point during that
                           process, the call happens an then y instruct the ide, “No, or just forget about
                           it?”
      22
      23    JF:            No.
      24
      25    MJ:            Or, okay
      26
 R
      27    JF:            No, I just, I   ight ave an emai    n that. I just know we’re not going to do that.
      28
      29    MJ:              m,      u do ha an email on that and the campaign aide’s name, that would be
      30                   helpful, u for a t e-frame. Do you know the member, I guess you know the
      31                   name?
      32
D

      33    JF:            Yeah, Lucas      enz, but he’s no longer with me.
      34
      35    MJ:            Ok
      36
      37    JF:            Again, you’re, I asked you not to project, but these are young people.
      38
      39    MJ:            Yeah.
      40
      41    JF:            I deal with the functions.
      42
      43    MJ:            Sure.
      44

                                                              46
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011493
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 47 of 84 Page ID #:553

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            In the office, so he’s not going to, again, it was a passing thing as we were trying
       2                   to figure out, okay, what is the year look like in terms of fundraising as best I recall
       3                   cause it’s just normal conversation.
       4
       5    MJ:            Sure.
       6
       7    JF:            And so he, he had an email back to me “Okay, what about LA, do you want me to
       8                   contact them”?
       9
      10    MJ:            Okay.
      11
      12    JF:            I said, “No, I don’t.”




                                                             T
      13
      14    MJ:            Okay, yeah, if that isn’t an email.
      15
      16    JF:            Some, something like that.
      17
      18
      19
      20
      21
            MJ:


            TC:
                                AF
                           Sure, that is an email we are interested in…um You don’t have to do it right now,
                           but it’s.

                           The spelling of Wentz would       ?
      22
      23    JF:            W-e-n-t-z.
      24
      25    TC:            Wentz? O ay. Germa
      26
 R
      27    EC:            Like Carlo Went
      28
      29    TC:             he s     UI one
      30
      31    EC:            UI
      32
D

      33    TC:            Carlos Wentz was a great quarterback.
      34
      35    AC:            Hu
      36
      37    JF:            Um, some of these email, older emails are getting harder to find.
      38
      39    MJ:            Okay, yeah, this is---
      40
      41    TC:            ---Is this on your house email or a personal email?
      42
      43    JF:            No….that would be illegal.
      44

                                                             47
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                     JF00011494
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 48 of 84 Page ID #:554

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    TC:            Oh, no, I’m just asking.
       2
       3    TG:            That would be a violation of House rules.
       4
       5    TC:            House rules, okay.
       6
       7    TG:            UI
       8
       9    TC:            I’m not trying snitch you out, I’m just asking.
      10
      11    TG:            House rule. Well, you UI
      12




                                                            T
      13    TC:            I don’t know that, I don’t know the House rul s, so it’s not my fa t
      14
      15    TG:            UI
      16
      17    TC:            Okay.
      18
      19
      20
      21
            TG:

            JF:
                                AF
                           House rules.

                           So okay I have one here for f m 2017 o            Luke, so maybe we might be able to
      22                   go back that far.
      23
      24    MJ:            Yeah, and if ou can j t, do yo have the email? You sent it from an email he
      25                   responded ith…the a dress.
      26
 R
      27    TG:            Can I ask t con essman so t t you know the conversation that he had. What
      28                   else did you d ter that content was made by
      29
      30    MJ:            I’m sorry,     n I get   email addresses real quick and I can go to that UI?
      31
      32    JF:            It’s not comin up.
D

      33
      34    MJ:              kay.
      35
      36    JF:            It’s sp ning.
      37
      38    MJ:            Okay, then yeah we’ll…got it, yeah, I’m familiar with that. Uh, okay, we can.
      39
      40    JF:            Yeah, so I found that discomforting so I called and had the D.C. attorney, Federal
      41                   Election Commission attorney.
      42



                                                             48
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011495
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 49 of 84 Page ID #:555

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Okay, um, and is that a conversation, obviously that’s probably privileged, but one
       2                   for you to wave and one we’d be interested in. So I don’t know if you guys talked
       3                   about that, uh, but?
       4
       5    TG:            I think you want them to extenuate the privilege attaches in conversation you had
       6                   with the FDC lawyer I think you want to wave it and tell them about the
       7                   conversation.
       8
       9    JF:            So I called her and I UI, so I called her again, I’m hearin something that concerns
      10                   me. I’m sensitive to these dynamics and asked her r ctive on this. Um, she
      11                   was the former lawyer at the National Republican ongres nal Committee. So I
      12                   turned to her [OV]




                                                               T
      13
      14    MJ:            I’m sorry, her name?
      15
      16    JF:            Jennifer Hurst, Furst. F-u-r-s-t.
      17
      18
      19
      20
      21
            MJ:

            JF:
                               AF
                           Okay.

                           I told her what I just told yo basica   nd, um, sh aid let me, let me on that and
                           again, I told my chief of staff well an s       alled back and through my chief of
      22                   staff related me what recours is here here, you follow the standard set of
      23                   procedures that          be normal ain, I didn’t have the conversation directly with
      24                   her.
      25
      26    MJ:            Who wa your Chief         St ff at the time?
 R
      27
      28    JF:            Reyn Archer,       still is. R-e-y-n A-r-c-h-e-r.
      29
      30    EC:            Sorry, ho     do you s ll that first name again?
      31
      32    JF:            R-e-y-n.
D

      33
      34    EC:              kay, thank ou.
      35
      36    MJ:            And,       , you say Reyn was a man or a woman?
      37
      38    JF:            Man.
      39
      40    MJ:            Mr. Archer reports back to you that first said basically, uh, you know, what are you
      41                   supposed to do about it? Okay, um, and then what, what if anything do you do after
      42                   hearing that?
      43
      44    JF:            I don’t.
                                                               49
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011496
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 50 of 84 Page ID #:556

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Okay. Um, do you ever have any conversations with Toufic Baaklini about, ‘Hey,
       2                   you set up a fundraiser that now seems a little weird to me”, or “Hey you guys seem
       3                   a little weird to me.” Do you have any conversation with Baaklini about?
       4
       5    JF:            No.
       6
       7    MJ:            Okay. Um, same question for Drew, or, I’ll just take one at a time. Drew, sort of
       8                   the same question, anything?
       9
      10    JF:            UI
      11
      12    MJ:            Okay. Uh, any follow up with Alexandria about have do you s up this fundraiser,




                                                           T
      13                   it’s great, but now I have some issues with it?
      14
      15    JF:            No.
      16
      17    MJ:            Okay. So it would be just Ms. Furst and M A her, then maybe your, I guess your
      18
      19
      20
      21
            TG:
                                 AF
                           wife to some extent? I got it. Um---

                           ---the U.S. Attorney used t
                           donations from the event in
                                                           wor “weird,” um re you aware of any of the
                                                           lifornia w  from anyone not legally entitled to
      22                   donate to you?
      23
      24    JF:            No. It’s a sta dard [O
      25
      26    TG:            Are tho donations n         y way d fferent than you do fundraisers in Lincoln,
 R
      27                   Nebraska?
      28
      29    JF:              o, i   ll the st dard process. People come, you try to give them a check, get a
      30                   check fro them o he spot, or they donate on-line and you try to collect their
      31                   name and th      uh, employer.
      32
D

      33    MJ:            And [OV]
      34
      35    JF:            Th discl mer is on the UI---
      36
      37    MJ:            ---yeah, pretty---
      38
      39    JF:            ---you’re not, that’s what you do. Now, the other thing I do honestly is every night
      40                   my treasurer and accountant does the Federal Election Commission report and
      41                   sends it to me two weeks ahead of time and I review it line by line and I say why is
      42                   this there? Why isn’t this there? I do that myself.
      43
      44    MJ:            Okay.
                                                            50
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011497
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 51 of 84 Page ID #:557

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1
       2    TC:            And your accountant’s name?
       3
       4    JF:            Steve Ralls, R-a-l-l-s. He’s technically not an accountant, but he’s the treasurer.
       5
       6    MJ:            So it sound like you’re pretty in the weeds. It sounds like you have a small
       7                   operation you mentioned a few times ---
       8
       9    JF:            ---right---
      10
      11    MJ:            ---and this is one of the things that you’re in the we ds on, s t of the, not even sort
      12                   of UI




                                                               T
      13
      14    JF:            It’s also intentional that to touch it to mak sure mistakes aren’t ma
      15
      16    MJ:            Got it. And, um, and we mentioned t t admo tions are the laws on that, uh,
      17                   donation form and I think you talked abou hi before with Special Agent Carter,
      18
      19
      20
      21    JF:
                                AF
                           conduit contributions, you’re familiar with nating in the name of another, or
                           reimbursing someone, uh, i i al?

                           Yes, I would be aware of that
      22
      23    MJ:            Okay.
      24
      25    JF:            Now, not b cause I’ve ad experie e with that, or because this is top of mind and
      26                   anything ke this be s verything about this event was standard and lovely and
 R
      27                   engaging a peo e being gene us to me.
      28
      29    MJ:              ot i  d so tha nswers my question, but put a finer point it, that’s something
      30                   you knew fore all f this, right, before 2016?
      31
      32    JF:            Well, again, ’m not understanding the intentionality of your question why
D

      33                   wouldn’t I kn w that? I’m a member of the United States Congress.
      34
      35    MJ:            Yo d b        urprised, that’s what I will tell you. Not all, not all---
      36
      37    JF:            I guess it’s just not my world.
      38
      39    MJ:            Yeah, you would be surprised.
      40
      41    TG:            So the UI, you, uh, were a lawyer at the time, strongly admonitions were not UI?
      42
      43    JF:            Correct.
      44

                                                                51
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                    JF00011498
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 52 of 84 Page ID #:558

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Okay.
       2
       3    JF:            Now you were asking me, I think Todd when you were at the house you asked me
       4                   how I knew that?
       5
       6    TC:            Correct.
       7
       8    JF:            Back to that early question and how am I supposed to answ r how I knew that? I
       9                   mean it’s my obligation to know that. I’m a lawmaker-
      10
      11    MJ:            ---sure---
      12




                                                            T
      13    JF:            ---in charge of a political campaign. I hav spent significant me in the FEC
      14                   manual.
      15
      16    MJ:            Okay
      17
      18
      19
      20
      21
            JF:
                               AF
                           Federal Election Commission Manual especi y in the beginning to make sure; in
                           fact, when I, this chief of s a ame in, he cam in from the outside so the first
                           thing we did is I had him sit own w the ethics c mmittee and I said I want you
                           to explain to him how rules w rk aroun h because a lot of times people think
      22                   they can just use intuition.
      23
      24    MJ:            Uh huh.
      25
      26    JF:            That’s n     the right
 R
      27
      28    MJ:            No that’s fair      m, yeah and I think [OV]
      29
      30    JF:            So you’re iving in very narrow point that is hard for me to answer, it’s just part
      31                   of what I kn w.
      32
D

      33    MJ:            Okay
      34
      35    JF:            Ho do I dentify, how do I identify how I know that, I just UI
      36
      37    AK:            Do you have prior experience at any time during the course where you, where you
      38                   received a contribution that turned out to be improper in one way or the other for
      39                   any reason?
      40
      41    JF:            As a member of Congress, I have turned down contributions. I have sent them
      42                   back. I have shredded them.
      43
      44    AK:            And like sending a contribution back, how does that come up, or how did that arise?
                                                             52
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                JF00011499
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 53 of 84 Page ID #:559

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            I’ll give you an example just last fall I didn’t send it back, I just didn’t cash it, which
       2                   we can also do.
       3
       4    AK:            Uh huh.
       5
       6    JF:            We can just ignore it. I didn’t talk to Jennifer first about that, now it’s an earlier
       7                   thing, some, something came in that I wasn’t comfortable with. So I write a letter
       8                   to Google about the problem that they have of child children’s access to
       9                   inappropriate websites and what their policy is and it’s a f mal letter to them, along
      10                   with a Democrat member. I get a check in the mail from ogle, right approximate
      11                   to that and I’m like ---
      12




                                                              T
      13    AK:            Hmm.
      14
      15    JF:            I’m not cashing that.
      16
      17    AK:            Uh huh.
      18
      19
      20
      21
            JF:

            AK:
                                 AF
                           That’s an example.

                           Uh huh.
      22
      23    JF:            So I don’t have         ntory of     i in my head, but occasionally I’ll do it because
      24                   I did it the oth r day a ally.
      25
      26    TG:            So the d rict attorn      is UI you returned other checks?
 R
      27
      28    JF:            Yes…or shre       d.
      29
      30    AK:            And if yo nd if y receive a contribution that you later find out is improper for
      31                   one reason o another, is there, is there a protocol for that within the UI?
      32
D

      33    JF:            And no this i why part of this I just---
      34
      35    AK:            ---   huh
      36
      37    JF:            ---called the attorney.
      38
      39    AK:            Uh huh. And then did she agree?
      40
      41    JF:            Two years down the road from the event.
      42
      43    MJ:            And yeah, so did she explain sort of what that process would be, or sort of she has
      44                   not enough data to give you advice on what to do with it?
                                                              53
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                        JF00011500
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 54 of 84 Page ID #:560

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            I didn’t have the direct conversation [OV]
       2
       3    MJ:            that’s right---
       4
       5    JF:            ---the second conversation.
       6
       7    MJ:            All right, um, was one of your [OV]
       8
       9    JF:            It, it, now it’s my understanding there’s an obligation to o what you just said.
      10
      11    AK:            Meaning what?
      12




                                                            T
      13    JF:            To return [OV]
      14
      15    AK:            Oh
      16
      17    JF:            a botch for the improper thing a couple f        ars ago UI that was the advice,
      18
      19
      20
      21
            AK:
                                 AF
                           recourse.

                           So was it your understandin that i       s the pass   of time influenced the, the
                           recourse? I mean when you y it’s a up of years later, was it the fact that it
      22                   was couple of years later that m de a ifference of whether the checks would have
      23                   been returned?
      24
      25    JF:            Well, you nswered th question fo me.
      26
 R
      27    AK:            I’m not try to I m just trying o answer a quest, ask questions [OV] and UI put
      28                   this in your m h.
      29
      30    TG:            What wo       you, w t would you advise?
      31
      32    AK:            Uh huh. In te     s of what? You, you…I think.
D

      33
      34    TG:                 t a point u had the conversation with the FEC lawyer, were you aware that any
      35                   of       do tions from California were illicit?
      36
      37    JF:            No. But I heard a comment that concerned me.
      38
      39    AK:            Right, you were concerned that he may have been improper.
      40
      41    JF:            But I heard a comment that concerned me.
      42
      43    AK:            Right.
      44

                                                            54
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                               JF00011501
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 55 of 84 Page ID #:561

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            That’s different than the way you just characterized it.
       2
       3    AK:            Okay, well, okay.
       4
       5    MJ:            But [OV] what
       6
       7    AK:            I’m not trying to mischaracterize what you were saying, but you were concerned
       8                   about the contributions.
       9
      10    EC:            Could I ask how you presented this UI ?
      11
      12    JF:            I’m concerned about the word.




                                                            T
      13
      14    MJ:            Yeah, but [OV]---
      15
      16    JF:            ---that were used.
      17
      18
      19
      20
      21
            MJ:

            TG:
                               AF
                           Let him answer.

                           In that conversation.

      22    MJ:            And what was the concern abo      the ords?
      23
      24    JF:            The amounts ouldn e as larg nough, or as my wife characterized it, Gilbert
      25                   wouldn’t b involved Having a sic understanding that Gilbert was a foreign
      26                   national mehow, a n it’s just a UI.
 R
      27
      28    MJ:            And I guess, s guess we’re still saying so the concern would be that if the what
      29                            ld you  the phone that Gilbert has some role in the fundraiser which
      30                   [OV]
      31
      32    JF:            I didn’t say th .
D

      33
      34    MJ:                exactly o we’re talking about your concern.
      35
      36    JF:            Right
      37
      38    MJ:            So you just, you’re, it seems like you’re going up to the point and the next obvious
      39                   question is your concern was that if Chagoury contributed, it would be illegal. He
      40                   didn’t say that, but you’re just talking about your concern and so you keep stating
      41                   back the facts of what you’re concerned about, but why? Is it because if Chagoury
      42                   was in involved in the fundraiser it would have been those donations would have
      43                   been?
      44    JF:            Yeah, that’s the underline pre-conditions for the concern.
                                                            55
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011502
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 56 of 84 Page ID #:562

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1
       2    MJ:            Yeah, that’s what I think we were just wanting to clarify. What were you going,
       3                   sorry?
       4
       5    AK:            Oh, no, no, I got it congressman, thank you.
       6
       7    MJ:            Okay and then, um, back to the conversation you mentioned it sort of, how long
       8                   was it, UI I know it’s a 2018?
       9
      10    JF:            How long was what?
      11
      12    MJ:            The conversation with               it sounds lik there was som initial.




                                                            T
      13
      14    JF:            It was brief.
      15
      16    MJ:            Okay. And from your recollection [OV]
      17
      18
      19
      20
      21
            JF:

            MJ:            UI
                                AF
                           UI not involved, I don’t.



      22    JF:            I don’t really remember.
      23
      24    MJ:            Yeah and it’s not a tim test, but s t of did judge, or evaluate the judicatory of the
      25                   conversati n or the pro ress once i ets this Gilbert, again, I’ll say weird, however
      26                   you wan o concerni c mment to Gilbert.
 R
      27
      28    JF:            So Trey’s rais   a point of order here about your use of the word weird.
      29
      30    MJ:            Yeah.
      31
      32    JF:            And I want to know why you’re doing that and I want, I think that’s the reason to
D

      33                   think why yo re using that word.
      34
      35    MJ:            Ok      ho about concerning, cause you said?
      36
      37    JF:            Yeah.
      38
      39    MJ:            Yeah, I was saying weird because that’s just the way I talk.
      40
      41    TC:            UI unusual, I mean it’s just [OV]
      42
      43    MJ:            Just use your words.

                                                            56
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011503
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 57 of 84 Page ID #:563

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    TG:            I’m not trying to get him to use a different word, my point is you were not at the
       2                   time, aware of any illicit donations?
       3
       4    JF:            Absolutely not.
       5
       6    TG:            And you are even now not aware of any illicit donation?
       7
       8    JF:            Correct.
       9
      10    TG:            And if you were, you would return it?
      11
      12    JF:            Of course.




                                                            T
      13
      14    TG:            So if there is a weird donation, uh, their qu tion is what is, or their th ght process,
      15                   is where is your duty to investigate? Yo hear a com ent and your point is I didn’t
      16                   have any-more events, that was how I a ed on it I cancelled any other events in
      17                   California, does that make sense?
      18
      19
      20
      21
            JF:

            MJ:
                                  AF
                           Yes, or didn’t even pursue t e     portunity to pla events.

                           And you stopped that because f a conc n          comment by
      22
      23    JF:            Yes.
      24
      25    MJ:            After that oncerning c mment wa made, did you end the conversation?
      26
 R
      27    JF:            Yes.
      28
      29    MJ:              kay During th conversation, did             tell you that Toufic Baaklini had
      30                   given          th y-thousand dollars cash to help fund your fundraiser?
      31
      32    JF:            No.
D

      33
      34    MJ:              he [OV]
      35
      36    TG:            Are y      telling me that’s what happened?
      37
      38    MJ:            I’m asking you.
      39
      40    JF:            No.
      41
      42    MJ:            And had he told you that, that again seems more, even more concerning right?
      43
      44    JF:            No, that would have been horrifying.
                                                             57
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                    JF00011504
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 58 of 84 Page ID #:564

                                                      UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Okay. So if [OV]
       2
       3    JF:            I was in the right manner.
       4
       5    MJ:            So I’ll use in your words again to try to keep the semantics aside, it would have
       6                   horrifying.
       7
       8    JF:            That’s weird.
       9
      10    MJ:            That’s horrifying if              told you that Toufi    aklini gave him thirty-
      11                   thousand dollars in cash to fund your fundraiser th would ve been horrifying to
      12                   you?




                                                             T
      13
      14    JF:            Yes.
      15
      16    MJ:            Okay, and in that scenario would have y u told th FEC lawyer that in addition to
      17                   the Chagoury comment he also mentione th other comment…this horrifying
      18
      19
      20
      21
            JF:
                                  AF
                           comment.

                           Yes, now, let’s, let’s, let’s s p, ca
                           guys are doing in your intentio ality?
                                                                  this is wher I don’t understand what you

      22
      23    TC:            You mean cease
      24
      25    MJ:            Do you w nt to stop re ording, or      could?
      26
 R
      27    TG:            Do what?
      28
      29    MJ:              ts        p it whil it’s out.
      30
      31    JF:            Okay.
      32
D

      33    TC:            Uh, what tim s what?
      34
      35    MJ:            It s west      ast time.
      36
      37    TC:            Okay, 11:41, uh, conversation is being is halted.
      38
      39    [End of transcription by OST Cynthia Lee 01:27:20]
      40
      41    [Transcription continued by OST Cynthia Lee 00:00:01]
      42
      43    TC:            Returning back at, uh, 12:02, July 18. This is Todd M. Carter with the FBI.
      44

                                                             58
                                                      UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                              JF00011505
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 59 of 84 Page ID #:565

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    AK:            I think we were just going to pick up on the questions that you have for us with the
       2                   UI recordings so we can just have everything on the record and veer on it and one
       3                   of the things that I had said you had questions about what to do based upon the
       4                   questions that Mack had asked about the source of funds and I think it’s while we
       5                   have an on-going criminal investigation, so we can’t really talk about details that
       6                   we know [OV].
       7
       8    JF:            Which I’m not aware of.
       9
      10    AK:            Exactly. And, and, you should not take questions po d y us.
      11
      12    JF:            UI take back.




                                                            T
      13
      14    TG:            Can I, can I stop you there?
      15
      16    AK:            Well, let me just finish my two points a   you ca    --
      17
      18
      19
      20
      21
            TG:

            AK:
                                AF
                           ---all-right---

                           ---and you can follow up wi a que n You sho ld not take any questions that
                           we pose as fact, and you shou d not do ny i g based solely upon questions that
      22                   we have, or what you perceive as rtains that we make in this meeting because
      23                   we are just aski g estions an we don’t expect you to take action based on
      24                   questions tha we ask. f you wan o take ac, actions independent of questions that
      25                   we asked nd not base on the que ons that we’re asking, that’s completely up to
      26                   you. I d ’t UI
 R
      27
      28    JF:            What does tha     ean?
      29
      30    AK:            Because w t Trey d asked us is whether you should be taking actions based on
      31                   our question So and maybe you weren’t in the room at the time, so maybe this is
      32                   why there’s, is doesn’t make sense, but we’re saying is you should not take
D

      33                   actions based olely on our questions. If you have a separate basis to take action
      34                     d do som hing that you want to do, that’s entirely up to you.
      35
      36    MJ:            That,   at action is giving back the money, maybe that is.
      37
      38    AK:            Yeah.
      39
      40    MJ:            Maybe that is where the missing UI.
      41
      42    TG:            What I told him while you were gone, that’s the first time you had ever heard it, but
      43                   [OV]
      44

                                                            59
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011506
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 60 of 84 Page ID #:566

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            I’m still processing what you just said.
       2
       3    TG:            But before the UI
       4
       5    JF:            I don’t think you understand the impact of what just said.
       6
       7    MJ:            What I asked.
       8
       9    TG:            Right, but I also assured them you took it differently. I g what they’re saying, but
      10                   you took it as a desertion of fact and you would act u n because [OV]
      11
      12    JF:            I’m shocked by what you told me.




                                                                 T
      13
      14    TG:            Until that point your UI you had no reaso to believe that any of t          se donations
      15                   were illicit.
      16
      17    JF:            Not up to that point.
      18
      19
      20
      21
            TG:

            JF:
                               AF
                           Right.

                           Up to now.
      22
      23    TG:            Based on that qu      and what y re telling you and they don’t give FEC advise
      24                   and you shou d not tak that as an ssertion of fact. I’m not telling you what to do
      25                   or not, wh not to do    that’s up you.
      26
 R
      27    JF:            Well, we d ’t ha        to talk abo    that, it’s UI.
      28
      29    AK:              an     just step ck to, uh, the relationship with Baaklini a little bit, cause that,
      30                   that was o of the     stions I had was you had said that you had met Mr. Baaklini
      31                   in 2014.
      32
D

      33    JF:            Can we stop     e recording again?
      34
      35    AK:            My my estion was you described meeting Mr. Baaklini in 2014. Is that right,
      36                   that’s hen you first met him?
      37
      38    JF:            I can’t firmly adhere to that time, but I suspect that’s pretty accurate.
      39
      40    AK:            Okay, so around that time and you didn’t have, you haven’t known him for many
      41                   years prior to that?
      42
      43    JF:            No, it’s only through this alignment of this formation, the organization In Defense
      44                   of Christians. I had a staff member who was very close friends with a person who
                                                                 60
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                     JF00011507
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 61 of 84 Page ID #:567

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1                   was proximate to the founding of that organization, I don’t know, it was non-State
       2                   Department.
       3
       4    AK:            Right.
       5
       6    JF:            So I keep trying to give you this context.
       7
       8    AK:            Yeah.
       9
      10    JF:            It’s all working around policy.
      11
      12    AK:            Right. And, and how did you describe your relationship with Mr. Baaklini




                                                             T
      13                   involving after that initial UI?
      14
      15    JF:            To a friendship.
      16
      17    AK:            And then how did that occur?
      18
      19
      20
      21
            JF:
                                  AF
                           Uh, I would see him occasi        ly he knew the rk that we doing, he got invited
                           to the Rome conference. I t d you was part of e reason that I told you this
                           because he founded a group lled In e             e of Christians. He’s close to the
      22                   Patriarch of Lebanon, Cardinal ye [ H] who will be at the event with us again at
      23                   the end of Augu         ich is not    wn for sure, but it’s somewhere around there.
      24                   The Patriarch of Leba n has be me a principle, what’s called a patron of this
      25                   organizati n that I belo g to called    International Catholic Legislatures Network.
      26                   It is a pl form by wh h embers of parliaments worldwide and the Africans are
 R
      27                   starting to me d log about is ues that are held in common that flow out of this
      28                   sensibility, m e he can tell you about it, it’s Edward, right?
      29
      30    EC:            Yes.
      31
      32    JF:            This idea of man dignity and what that means for civilization itself...a tax on
D

      33                   family, a tax , uh, religious freedom that are occurring throughout the world. The
      34                   p rsecution f Christians, the persecution of other people’s cause of their belief
      35                   sys m h been a central tenant of this, so he became a participant in that, I think
      36                   more an observer because of the founding of this organization.
      37
      38    AK:            And how often would you speak to Mr. Baaklini?
      39
      40    JF:            I don’t know…you know, occasionally.
      41
      42    AK:            Uh huh.
      43


                                                             61
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011508
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 62 of 84 Page ID #:568

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            Occasionally. I had dinner with him a couple of times over those, the course of
       2                   those years and so there’s a group of friends that he has that I’m friends with as
       3                   well.
       4
       5    AK:            So you became social friends with him over that period?
       6
       7    JF:            I wouldn’t characterize it exactly like that, I’m talking to him frequently as
       8                   occasional.
       9
      10    AK:            Yeah
      11
      12    JF:            I mean social friends that have---




                                                           T
      13
      14    MJ:            It’s, yeah---
      15
      16    JF:            ---not an intimate UI
      17
      18
      19
      20
      21
            MJ:


            JF:
                                AF
                           And so occasional meetings sometimes you w
                           on the phone, like, “Hey, M     klni?”

                           You have Lebanese friends he and I r a
                                                                           ld just go to dinner, or like you talk


                                                                         ne, two, three, four, or five dinners
      22                   over the course of this period o ime t might be more this off the top of my head,
      23                   I’m recalling.
      24
      25    MJ:            And I wa trying to gain, cause ometimes we use words and think of them
      26                   differen    Social m ni g you would sometimes go to social engagements with
 R
      27                   them, but n som ne you wou talk to on the phone, like “Hey, how’s your day,”
      28                   or?
      29
      30    JF:            Oh, no.
      31
      32    MJ:            Okay, so call g him is something more rare than seeing him, is that?
D

      33
      34    JF:              h I would ee him but sometimes it was at events that I was invited to that he was
      35                   als invi d to because of the position that he had. Um, his friend here has also
      36                   becom my surgeon, I had four surgeries on my throat, so I moved back to
      37                   D.C….he’s my gastroenterologist. So that was another, again, contact point.
      38
      39    MJ:            Uh huh.
      40
      41    TC:            That’s                   ?
      42
      43    JF:            Yeah, right.
      44

                                                            62
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011509
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 63 of 84 Page ID #:569

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    AK:            And Mr. Baaklini his job was with IDC?
       2
       3    JF:            I don’t know exactly.
       4
       5    AK:            Okay.
       6
       7    JF:            I, I don’t know.
       8
       9    TC:            Did he [OV]?
      10
      11    JF:            He was clearly the face and I don’t, in fact, I can’t ememb what UI had, maybe
      12                   a president or executive director. I knew they were trying      hire an executive




                                                           T
      13                   director, so he could get out that, I remember hat cause I wonde d if my UI crew
      14                   would definitely consider.
      15
      16    AK:            Do you know if, if, um, you may have id this e lier so I apologize, but did Mr.
      17                   Baaklini have a relationship with Mr. Chag ur
      18
      19
      20
      21
            JF:

             AK:
                           Yes.
                                  AF
                           Do you know what that was?
      22
      23    JF:            Not precisely, b     I’m new             these rules, too, but this, this interconnectivity
      24                   of this Leban e comm nity and            ir connectivity to people back home is vibrant.
      25
      26    AK:            Uh huh.
 R
      27
      28    JF:            This is back a forth, this culture is alive. It’s alive in America. It’s alive back
      29                     ere ’s alive Rome and for instance, back to the point I have fundraiser, but
      30                   the, throug their in vention, through their request of the Vatican, they gave me
      31                   an award fro the Vatican.
      32
D

      33    AK:            Uh huh.
      34
      35    JF:            Do     tha help with the context?
      36
      37    AK:            I guess I didn’t, yeah and I didn’t mean to say, you know, do they, are they
      38                   acquaintances, but do you know if Mr. Baaklini [OV]
      39
      40    JF:            No, they’re friends---
      41
      42    AK:            ---did work, did he work for Mr. Chagoury?
      43


                                                               63
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                        JF00011510
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 64 of 84 Page ID #:570

                                                       UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            I don’t know…and that also gives you an indication of why you to your friends to
       2                   ask them to help you.
       3
       4    AK:            Uh huh.
       5
       6    JF:            UI
       7
       8    MJ:            And then I guess the reverse, wouldn’t the reverse be t e if                 told you
       9                   something that was concerning you would go to your fr nd to tell him about that
      10                   concern, particularly if the concern that            refer n d was Chagoury who as
      11                   you mentioned in this vibrant community, they all em to b very active and know
      12                   each other, so I guess I’m still trying to figure out and I get you de certain actions




                                                                  T
      13                   or inquiries, but I’m just curious as to why y u wouldn’t have ei r asked
      14                   more about that concern, or if you’re I just on’t want to talk to him, t let me talk
      15                   to my friend Baaklini about that concer and maybe e can talk to Chagoury or get
      16                   me some more inquiry cause I believe y said y u never talked to Baaklini about
      17                   your concern with            Is that, I believ yo said that?
      18
      19
      20
      21
            JF:

            MJ:
                                AF
                           No, but you’re drawing all             se inferences.   m…

                           I’m sorry, no, no you never di I think as d my question weird, talk to Baaklini
      22                   about it.
      23
      24    JF:            I, I didn’t.
      25
      26    MJ:            Okay an        guess it j      didn’t and s that’s what I’m trying to figure out.
 R
      27
      28    JF:            I’d I’d like to      p this.
      29
      30    MJ:            Okay.
      31
      32    [Transcrip ion continued by ST Cynthia Lee 00:00:01]
D

      33
      34    TC:              I of 22, w re back on.
      35
      36    AK:            So, um I was just, we were just talking about Mr. Baaklini, and your relationship
      37                   with Mr. Baaklini and how it, uh, came closer from your initial UI and then at some
      38                   point in, uh, you use the friends.
      39
      40    JF:            Friends.
      41
      42    AK:            And in 2015, uh, he help set up this fundraiser in Los Angeles.
      43


                                                                  64
                                                       UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011511
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 65 of 84 Page ID #:571

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            Yeah, it’s not exactly clear to me how, but again, when you’re in this business you
       2                   just turn things over to the people you got, friends, go run with this. You set up the
       3                   procedures, which I did with the fundraiser, she came and they came voluntarily.
       4
       5    AK:            Okay.
       6
       7    JF:            And that’s what we did.
       8
       9    AK:            And we know you’re incredibly busy, and we don’t want take more of your time,
      10                   so I think we’re, we’re kind of winding down. I think h last area that we want to
      11                   talk about is just to follow up on the concern that y u have, at you [OV]---
      12




                                                               T
      13    JF:            Yeah.
      14
      15    AK:            That you stated you had a concern.
      16
      17    JF:            It’s, it’s fair enough, I get it.
      18
      19
      20
      21
            AK:

            JF:
                           Yeah.
                                AF
                           But, I’ve been trying to tell       u guys w     hings; one is the context for all the
      22                   relationships.
      23
      24    AK:            Uh huh.
      25
      26    JF:            What sp      fic action    o k after tha and, uh, I’m trying to volunteer them.
 R
      27
      28    AK:            Right.
      29
      30    JF:            And gave      u appr      iate and more information.
      31
      32    AK:            And everythi you have described to us has made it clear that you’re someone
D

      33                   who is very c nscientious about how he takes his role and, and worrying about the
      34                     ff and w ying obviously someone who is very studied-up on the FEC Manual.
      35
      36    JF:            I wou n t use the word worried, it’s an obligation that we have. It’s the law…
      37
      38    AK:            --right---
      39
      40    JF:            ---and at the end of this all you have is your own integrity…ask him, I mean.
      41
      42    AK:            So let me just try to get to some of our questions so, uh, we can wind-down. With
      43                   respect to the concern that you expressed after your phone call with
      44

                                                               65
                                                     UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011512
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 66 of 84 Page ID #:572

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            Yeah.
       2
       3    AK:            You said you spoke with your wife about it?
       4
       5    JF:            Yeah.
       6
       7    AK:            And you spoke with the FEC attorney?
       8
       9    JF:            Correct.
      10
      11    AK:            When did you speak to the FEC, how long after th call did ou speak?
      12




                                                             T
      13    JF:            I don’t know, but it must have been pretty pr ximate.
      14
      15    AK:            Would that be days or what?
      16
      17    JF:            Are you going to hold me to it?
      18
      19
      20
      21
            AK:

            JF:
                               AF
                           No, but I’m just trying to g

                           No, it’s not months.
                                                             e UI like week months, days?


      22
      23    AK:            Okay.
      24
      25    JF:            It’s definit ly, uh, if no week, if no days, then weeks.
      26
 R
      27    AK:            Okay. An hen ou had one onversation where you explained the, what you
      28                   recalled from ur conversation with         you relate that to the FEC
      29                     torn ?
      30
      31    JF:            Correct.
      32
D

      33    AK:            And do you h ve any additional conversations with the FEC attorney yourself?
      34
      35    JF:            No he in rmation came back to me…she called my Chief of Staff and I had talked
      36                   to him bout it, too and then, um, after you guys came to my house, I went back to
      37                   him to try to confirm. What did I tell you about what               said, cause I’m
      38                   racking my mind trying to remember the exact words. Uh, he said he didn’t recall,
      39                   but the word came back from the attorney in a fact, there’s a standardization
      40                   procedure that was followed. We have no idea that anything is at all illicit. Checks
      41                   come from individuals who are American citizens who fill-out their forms. I review
      42                   the FEC reports, we write thank you notes standard procedure as Trey has off
      43                   endingly said to me this was a very insignificant fundraiser for half of your

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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011513
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                                                    UNCLASSIFIED
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       1                   expenses. For me, it’s a big fundraiser, cause it just this is where I come from, it
       2                   hasn’t been my emphasis.
       3
       4    AK:            Uh huh.
       5
       6    JF:            UI so, that’s, that’s the action.
       7
       8    AK:            Did you have any, did you have any desire to follow up in any way to determine
       9                   the source of the funds?
      10
      11    JF:            Well, no, this is the question okay, what, at this po t what    the recourse?
      12




                                                               T
      13    AK:            Uh huh.
      14
      15    JF:            You know what I mean, answer it yo self do you start going back and calling
      16                   people and UI? We have no indication at anyth ng is wrong. I have a comment
      17                   as I told Todd as I recall at the house, try o give the fullness of what was
      18
      19
      20
      21    AK:
                               AF
                           happening that week and it wasn’t just a ndraiser, it was a big Lebanese
                           community event and it wa a ss so there’s.

                           And [OV]
      22
      23    JF:            And what is the          ent related     , that’s the point.
      24
      25    AK:            So the lawyer, the lawyer, didn’t um, suggest to you that you should do any
      26                   inquiries figure ou he tory?
 R
      27
      28    JF:            Right.
      29
      30    AK:            Um, and y, just,      I’ll just add, I’m not trying to say this in a, in an accusatory
      31                   way, but I’l ust you very directly, why didn’t you call                   and ask him
      32                   what he mean by his reference to Mr. Chagoury?
D

      33
      34    JF:              m, there’s gain, going through your mind okay what did he mean? There’s three
      35                   eve s, c use it’s just possible that Gilbert because of his connectedness to the
      36                   comm nity, suggested the community at large should they help out? And therefore
      37                   if he’s not helping again, he won’t be involved, it’s not, he’s not, uh, and so the
      38                   amounts of people or just be a success. Uh, is he involved in some kind of
      39                   underwriting of the other events that were there?
      40
      41    AK:            Uh huh.
      42



                                                               67
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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011514
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       1    JF:            So all of that is a part of the consideration, or as you’re suggesting, or inferring, or
       2                   implying here I guess that there was a contributions funnel through an illicit foreign
       3                   source.
       4
       5    AK:            And why not contact                 to answer that precise question?
       6
       7    JF:            I followed the standard procedures of any fundraiser, I had a concern about a
       8                   comment, I got attorney’s advice and I followed it.
       9
      10    TG:            Is it, is it, um, fair to say that’s a pretty uncomfortab , h, conversation to have
      11                   where you’re accusing someone of knowingly viol ing FE law?
      12




                                                              T
      13    JF:            Extraordinarily. Do you remember            is, I don’t know hi well, only from
      14                   that event, has his physician in the com unity as an established rgeon, some
      15                   renowned?
      16
      17    AK:            Uh huh.
      18
      19
      20
      21
            JF:
                                 AF
                           I mean why would a perso           do something llegal? What, what, and yes to
                           Trey’s point, the difficulty o backing p and makin that implication of that.

      22    AK:            Although it was              who r sed with you, right? I mean                     said
      23                   something and I’         t trying to  words in your mouth, but, but.
      24
      25    JF:            But you a
      26
 R
      27    AK:            But, well, I not rying to, UI However you if you want to re-summarize what
      28                   you perceive   OV]
      29
      30    JF:            I’ve summ ized it        ice for you.
      31
      32    AK:                         s d something to you related to Chagoury's involvement in the
D

      33                   fundraiser tha gave you concern ---
      34
      35    JF:            ---     rec -
      36
      37    AK:            ---that Chagoury may have involved in the 2015 conference.
      38
      39    TC:            2016.
      40
      41    AK:            I’m sorry, in the 2016 conference.
      42
      43    TG:            But in context it was after you were already thinking having another event, so with
      44                   his comment came in connection with you having a second event.
                                                               68
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                     JF00011515
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                                                    UNCLASSIFIED
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       1    JF:            Right, which was intentionality of me ---
       2
       3    AK:            ---okay---
       4
       5    JF:            ---contacting              along with I think a conversation about a Nebraska
       6                   football game.
       7
       8    UM:            Right.
       9
      10    JF:            I can’t remember if that was combined, or that was an h one and remember, he’s
      11                   got a connection in Nebraska.
      12




                                                           T
      13    AK:            And the reason I’m going back to this is becau e you said that the, rt of the reason
      14                   why you didn’t want to talk to                about it would be th it would be
      15                   uncomfortable to ask him about it, but g en that             was the one who raised
      16                   it with you, I’m must not clear as to why ou coul n t have a conversation with
      17                            in which you said “              y m ntioned that there was a, that Mr.
      18
      19
      20
      21    JF:
                               AF
                           Chagoury had uh, rel, uh, some involvement i his fundraiser,” what did you mean
                           by that?

                           Maybe that would have been better t ng do on the spot. It’s not what I did,
      22                   the conversation was concernin o m so I thought it be better to end it and I sought
      23                   advisement, that       t it was.
      24
      25    TG:            In a unive e of option going thro gh your mind when you heard that comment,
      26                   this laun ring, I do k ow hypothetically thirty-thousand dollars in cash, what
 R
      27                   are those op ons?
      28
      29    JF:              gain, e level concern that there might have been a foreign national involved
      30                   in this trig red me contact an attorney. Yes.
      31
      32    MJ:            And, but you so had this scenario you pointed out there was two other innocuous
D

      33                   explanations r his comment.
      34
      35    JF:            I th k w discussed Todd.
      36
      37    MJ:            And you were put in an uncomfortable position, but you didn’t do anything to
      38                   actually seek to confirm that they were innocuous, is that also?
      39
      40    JF:            Okay.
      41
      42    MJ:            Is that?
      43
      44    JF:            I mean, no.
                                                            69
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011516
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 70 of 84 Page ID #:576

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1
       2    MJ:            Okay, then if that [OV]
       3
       4    JF:            I sought, I sought legal advice as to what to do. Everything [OV]
       5
       6    TG:            The answer is you didn’t follow up with
       7
       8    JF:            I did not.
       9
      10    TG:            You called on a lawyer.
      11
      12    MJ:            And [OV]




                                                            T
      13
      14    JF:            I followed up with legal counsel because      the concerning nature o t
      15
      16    MJ:            And I think, I mean you mentioned it veral ti es and it’s helpful that you’ve
      17                   conveyed to us that conversation and so w re ust clarifying in your conversation
      18
      19
      20
      21
            JF:
                                AF
                           with us, you’re saying there’s three possible s narios, so [OV]

                           Well, it may not, I don’t wan to giv      u an explan ion of what it meant fully.

      22    MJ:            And so [OV]
      23
      24    JF:            I just, these w re thing hat went      rough my mind.
      25
      26    MJ:            And the o on your nv rsation with the lawyer, did you also tell the lawyer like,
 R
      27                   “Hey, it co d hav been?
      28
      29    JF:             don         membe
      30
      31    MJ:            Okay.
      32
D

      33    JF:            I probably di    hat, I probably did that, but I don’t remember.
      34
      35    MJ:            Ok
      36
      37    AK:            Do you have any objection to us talking to the lawyer?
      38
      39    JF:            I’d like Trey’s consideration on that.
      40
      41    MJ:            Yeah, you can get back to us, it doesn’t have to be today. Um, but yeah, for the
      42                   same reasons we’re asking you it sounds like you had that conversation and you
      43                   talked UI ---
      44

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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                              JF00011517
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                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            ---yeah---
       2
       3    MJ:            ---and we do think it’s meaningful.
       4
       5    JF:            I just, I, for me my initial reaction is, “No,” but again you got to deal with what you
       6                   guys are inferring, implying in a prudential manner with legal UI.
       7
       8    TG:            Mr. United States Attorney, when you used the number thr        are you talking about
       9                   the three events in California [OV]
      10
      11    JF:            ---yeah---
      12




                                                            T
      13    TG:            ---that he wasn’t sure which of the three?
      14
      15    MJ:            Oh, no, thank you for clarifying. I bel ve it to Mr Ketchell’s question you gave
      16                   three scenarios of why, of what the co ment m nt? And one you said it could
      17                   have been Chagoury was involved in this.
      18
      19
      20
      21
            JF:

            MJ:
                               AF
                           Well, why don’t you think

                           Yeah.
                                                              it and then conj ture with me what that meant?


      22
      23    JF:            You can do the     hing as m hat’s why I gave you the context of there were
      24                   three dynami involv the first me [OV].
      25
      26    MJ:            And so o of them re innocuous and one was criminal, I would go back to the
 R
      27                   person and y “th is concern g to me, you put me in a very awkward position.
      28                   Are you saying hagoury was involved to, in a criminal act and now you’re getting
      29                     e i     uble? I mean that’s, that is what I would do if there’s two other
      30                   innocuous I get T y’s point, if it was, if you just came out and said, “Hey, uh,
      31                   you know I bed somebody and I want you, something very criminal,” you know
      32                   hang up, be d e with it but if in your mind he’s giving you two innocuous options,
D

      33                   our question why you wouldn’t follow up?
      34
      35    JF:            It uld h ve been a moment where I would have said that in the conversation;
      36                   again, ve only had one conversation with
      37
      38    MJ:            Okay.
      39
      40    JF:            That’s that and I didn’t.
      41
      42    MJ:            Yeah.
      43
      44    JF:            It concerned me, you know [OV]
                                                             71
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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                    JF00011518
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                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1
       2    MJ:            Okay.
       3
       4    JF:            I went to an attorney to seek the advice.
       5
       6    MJ:            Yeah, no I think you’ve answered my.
       7
       8    AK:            Did you, um, did you consider having a conversation with Mr. Baaklini about it,
       9                   that again given to kind of, given that Mr. Baaklini w s involved in setting up
      10                   fundraisers?
      11
      12    JF:            Well, these are the people that made both, gave me the m ey and made the




                                                             T
      13                   comment---
      14
      15    MJ:            Yeah
      16
      17    JF:            And made the comment. Toufic may have n buted around the same time, I just
      18
      19
      20
      21    AK:
                               AF
                           don’t remember and I can’t remember if he s there or not? He may not have
                           been there.

                           But with regard to Mr. Chag ry’s inv l      nt that wasn’t something that you
      22                   considered that you considered iscu ing with Mr. Baaklini?
      23
      24    JF:            No, the comm nt cam from
      25
      26    MJ:            And I g ss was th al cause you didn’t want it, it would be an awkward
 R
      27                   conversatio with aaklini too?
      28
      29    JF:              f co     and th you would have to put yourself in my shoes. What is the level
      30                   of obligat    here t tart---
      31
      32    MJ:            ---yeah---
D

      33
      34    JF:              coming th ough this?
      35
      36    MJ:            Okay
      37
      38    JF:            Particularly in light of the attorney’s.
      39
      40    MJ:            Okay, uh and then in, so two final topic areas pretty quick. In your interview with
      41                   Special Agent Carter and Special Agent O’Leary, fair to say some of this, or at least
      42                   the details did not come up about the Shagoury comment, your concerns and then
      43                   the, you reached out to the FEC lawyer. Is that your recollection of things that

                                                              72
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       1                   either didn’t come up as detailed here, or didn’t come up at all, is that a fair
       2                   characterization?
       3
       4    JF:            The characterization is this, uh, prior to, uh, Agent Carter coming, I was overseas.
       5                   My congressional district got hit two bomb cyclones, five-hundred year flood
       6                   events.
       7
       8    MJ:            Uh huh.
       9
      10    JF:            I spent night after night on the phone with the head of t  gic command, which is
      11                   located off an Air Force base which was flooded b ause t water was so intense
      12                   it pushed itself back up the Missouri and came over the UI. O he phone with the




                                                            T
      13                   Corp of Engineers, this small town mayor be re I came back fro Nyrobi, Kenya,
      14                   I was underneath their airport, looking at heir security operations y the way on
      15                   your guy’s behalf as to how they were hrough our money, stopping contraband,
      16                   particularly illegal UI trafficking, some f which ows to terrorist network.
      17
      18
      19
      20
      21
            MJ:

            JF:
                               AF
                           Oh huh.

                           That’s what I was doing righ before      u came to m house.

      22    MJ:            Okay.
      23
      24    JF:            Again, so I’m pretty e austed.
      25
      26    MJ:            Yeah.
 R
      27
      28    JF:            I get to my co essional district and immediately go out and start reviewing the
      29                     I.      wife g   a strange phone call. I get a strange phone call that is not
      30                   revealing, t the in ntionality is here.
      31
      32    MJ:            Uh huh.
D

      33
      34    JF:               d the wo t death threat that I’ve ever received, and I had two yesterday by the
      35                   way Th worst death threat I’ve ever received came from somebody with a Top
      36                   Secre ecurity Clearance. So I think I explained this to you when you were there.
      37                   So we called the police, we didn’t know who he was.
      38
      39    MJ:            Uh huh.
      40
      41    JF:            So I called my police chief, he said “this is weird.”
      42
      43    MJ:            Uh huh.
      44

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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                 JF00011520
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       1    JF:            UI
       2
       3    MJ:            Uh huh
       4    .
       5    JF:            Right?
       6
       7    MJ:            Uh huh.
       8
       9    JF:            And he said I’m going to send a squad to your house. M nwhile, he contacted the
      10                   local FBI guy. The local FBI guy said, “No, we don’t n w what this is.” And then
      11                   apparently in your internal systems he checked so ething d said, “Yeah,” then
      12                   he called me back UI.




                                                             T
      13
      14    MJ:            Yeah.
      15
      16    JF:            Then he talked to me.
      17
      18
      19
      20
      21
            MJ:

            JF:
                           Okay.
                                AF
                           So they come, he comes to
                           standing there.
                                                           e door    ith his partn   and I got two police officers

      22
      23    MJ:            Uh huh.
      24
      25    JF:            I looked a my police fficers to t        to determine whether he’s legitimate or not.
      26                   This is t UI you.
 R
      27
      28    MJ:            Uh huh.
      29
      30    JF:            I have fiv    ids. I g   teenagers running in and out of the house.
      31
      32    MJ:            Uh huh.
D

      33
      34    JF:            When he le I had to explain to my thirteen year old who was very frightened my
      35                   all f thi nd my wife.
      36
      37    MJ:            True, true.
      38
      39    JF:            Is everything okay? The police officers are standing there UI. My understanding
      40                   of what he was going to ask and my guess basis was what I told you earlier. My
      41                   thought is probably a security consideration going to be asked about somebody’s
      42                   nomination reference UI. And then was picture after picture thrown at me and I
      43                   said “Yeah, I recognize him. Oh, I don’t remember this exactly, would you

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                                                     UNCLASSIFIED
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       1                   remember that name?” So when we got and I think you wanted 20 minutes, I think
       2                   you were there maybe 40, 45 something like that?
       3
       4    MJ:            Yeah.
       5
       6    JF:            I explained to the officer that this is a threatening situation to us. He explained to
       7                   maybe his partner---
       8
       9    MJ:            ---uh huh
      10
      11    JF:            His partner interjected, “No, we didn’t threaten an ody.”
      12




                                                            T
      13    MJ:            Uh huh, uh huh.
      14
      15    JF:            But I hope you can understand the cont xt of all this
      16
      17    MJ:            Sure.
      18
      19
      20
      21
            JF:
                               AF
                           In the middle of going throu h ll of these peopl having these questions that I had
                           not previously thought abo       tho t through. Uh, the, the issue of Gilbert
                           Chagoury came up. I made th comme t            s I recall, I haven’t seen your notes
      22                   though, so I don’t want to get c ss U or something---
      23
      24    MJ:            That’s UI [OV]
      25
      26    JF:            ---I’m n     going to b   em mbering.
 R
      27
      28    MJ:            No it’s, yeah,     u’re explaining what’s going on in your head, that’s what we’re
      29                    tere d in.
      30
      31    JF:            I said, well, re was a mention of Gilbert, as I recall. Do you recall that when you
      32                   were asking m about Gilbert?
D

      33
      34    TC:               ere was
      35
      36    JF:            When said I talked to              a second time. And then I said remember there’s
      37                   three events going on and that’ the way I left.
      38
      39    MJ:            Okay.
      40
      41    JF:            After this I called Trey to further impact this and we decided that additional
      42                   information would be important to you, that’s why we’re here.
      43


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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011522
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       1    MJ:            Okay, I know it was UI you made the good call and to the right person it seems.
       2                   Um, so last stuff and we will, uh, leave for now, uh starting, ending where I sort of
       3                   started, these are some admonitions we give at the end of an interview. Again, so
       4                   don’t take them personally, but I will make a couple of specific ones. Um, it is a
       5                   confidential Federal Grand Jury investigation which means a couple of things: um,
       6                   we don’t too many people to know about it. Um, but we cannot order to not talk to
       7                   anyone, not tell anyone. Um, and we’re not trying to order that. Um, certainly for
       8                   the integrity of the investigation, it helps us that fewer peop know.
       9
      10    JF:            So what are you investigation?
      11
      12    MJ:            Um, Federal election crimes related to foreign nationals an roxies to include




                                                              T
      13                   Gilbert Chagoury. Um, and generally I don’ answer that quest    but to me it’s
      14                   trying to move things along and that’s als o me Uh---
      15
      16    JF:            So it’s Gilbert?
      17
      18
      19
      20
      21
            MJ:

            TG:
                           Um.
                                 AF
                           He can’t talk about Grand Ju y inve        tion.

      22    JF:            I see.
      23
      24    TG:            He said [OV]
      25
      26    JF:            Well, I’m ust curiou
 R
      27
      28    TG:            Was there any dy else? And I think they need to know and I know they already
      29                    now       last per n in the world that wants anybody to know that he talked to the
      30                   United St s Attorn y’s Office in California and Federal pros, and Federal Agents,
      31                   with a sitting member of Congress.
      32
D

      33    MJ:            Sure.
      34
      35    TG:            Ca       th act that he sat down and talked to you carries with it a stigma that is ---
      36
      37    MJ:            ---sure---
      38
      39    TG:            ---going to wash off on elected politics. So you’re not going to tell a soul where
      40                   you’ve been today and what you have been doing, that you hadn’t already told. I’m
      41                   talking about your wife, don’t tell anybody else in the business. They were kind
      42                   good enough to tell you more than would tell anyone else.
      43
      44    JF:            He says that it’s an investigation into potential election law violations.
                                                              76
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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                    JF00011523
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       1
       2    MJ:            And, um, that is well said, I will follow up with one question: who does know in
       3                   addition to your wife, or putting aside your wife, who does know?
       4
       5    JF:            About this conversation?
       6
       7    MJ:            Yeah.
       8
       9    JF:            Um, Trey, and my wife, that’s it. I UI
      10
      11    MJ:            Okay, um, and then we would again ask if, uh, ide ly you         ll take UI
      12    JF:            As I going to through my mind ---




                                                             T
      13
      14    MJ:            ---Sure---
      15
      16    JF:            I don’t know Schera [PH], your law par       r, I wo d assume.
      17
      18
      19
      20
      21
            TG:

            MJ:            Okay
                               AF
                           Schera [PH] Clark [PH]



      22    TG:            Is my law partner.
      23
      24    MJ:            That’s yeah l wyers a      family, w ’re not interested.
      25
      26    JF:            No, I’m      t talking ab ut UI
 R
      27
      28    MJ:            And again wi our lawyers sage advice in mind, um, you may not want to people
      29                    ut if    eone r hes out to you and wants to talk to you about Gilbert Chagoury,
      30                   Toufic Ba lini, so of in this context, you know? I don’t know if there’s other
      31                   connections, hey may come up, but if anything reaches out to you that gives you
      32                   know, sort of d flag or concern, uh, is raised again if you would let your attorney
D

      33                   know to let u know we’d be interested in sort of who’s the most efficient basically
      34                      poking to y to find out stuff. Um, so that again is totally up to you, but it would
      35                   be lpfu to us if, uh, people are trying to figure out who said what and whose
      36                   talked the FBI and whose doing what cause I, again, part of the reasons we don’t
      37                   answer many of your questions back to us is we don’t want to influence. We don’t
      38                   want, we just want your facts, your truth to the best of your recollection. So the
      39                   best way for us to do that is for people to not know who’ve talked to and what
      40                   they’ve said. That’s at least a significant part of it, so that would be our request.
      41                   Does that make sense?
      42



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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011524
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                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            Yeah, it’s the same advice Trey gave me. Um, I did have a peculiar circumstance
       2                   where somebody you asked me about was proximate to me one day and just wanted
       3                   to chat. I was very mindful of what you just said.
       4
       5    MJ:            Okay, yeah.
       6
       7    JF:            This never came up.
       8
       9    MJ:            Okay.
      10
      11    JF:            So I don’t know why they sought me out.
      12




                                                            T
      13    MJ:            Yeah.
      14
      15    JF:            But it didn’t even come up, but I had it n front of m mind that I was not going to
      16                   do that.
      17
      18
      19
      20
      21
            MJ:


            JF:
                                 AF
                           Okay, I appreciate that and even if that comes again even if sort of nothing comes
                           of it, um, we’d be interested      ow about thos hings.

                           Yeah, what I have done, mayb you guy         dvise me in this regard, um, is I think
      22                   it was before you talked to me a my h use, I’m almost certain it was. I was invited
      23                   to speak at a pub       nt on beh of In Defense of Christians---
      24
      25    MJ:            ---uh huh
      26
 R
      27    JF:            ---along wi man other memb s of Congress, and I did. I mean you can go look
      28                   it up it’s pub record, cause it was on C-Span. And I was openly, of course
      29                      mm ding of      organization and, and Toufic’s leadership. It’s a little peculiar,
      30                   but I’ve d e it purp sely that I’ve not had any interaction with Toufic—
      31
      32    MJ:            ---yeap---
D

      33
      34    JF:                 as far, si e that time, and it was probably last fall. And again given the
      35                   oc      ion interaction we had just on a regular basis.
      36
      37    MJ             Okay.
      38
      39    JF:            So I don’t know if that implies anything or not?
      40
      41    MJ:            Meaning that you haven’t talked to him?
      42
      43    JF:            I have purposely not.
      44

                                                            78
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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011525
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 79 of 84 Page ID #:585

                                                     UNCLASSIFIED
            File Number:
            Disc Number:

       1    MJ:            Okay. Has he---
       2
       3    JF:            UI
       4
       5    MJ:            Has he seemed to you to try to reach out?
       6
       7    JF:            No, not at all.
       8
       9    MJ:            Okay, so.
      10
      11    JF:            And that’s not highly unusual, lots of time would     by be   e we had, that’s why
      12                   you said social friend….well, it was occasional—




                                                              T
      13
      14    MJ:            ---yeah---
      15
      16    JF:            ---cause we’re friends, but it was occasi al meet g, but not regular.
      17
      18
      19
      20
      21
            MJ:

            JF:
                                AF
                           Yeah [OV]

                           So it’s not real peculiar, but ’s gon     rough my m d like I wonder if?

      22    MJ:            And I think that’s healthy aga and I will defer to your counselor’s advice, we
      23                   don’t want you t      hings you ow, that’s so outside your lane that then attract
      24                   attention to y u.
      25
      26    JF:            No, that the thing-
 R
      27
      28    MJ:            ---yeah---
      29
      30    JF:            I’m doing hat I w ld normally do---
      31
      32    MJ:            ---yeah---
D

      33
      34    JF:              had not a       of this be happening.
      35
      36    MJ:            Yeap nd I, then, yeah and we won’t advise you but our request will be to keep
      37                   doing that---
      38
      39    JF:            ---yeah
      40
      41    MJ:            And if something comes up to you that you think, you know? Your threshold for
      42                   unusual is pretty---
      43


                                                              79
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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                               JF00011526
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 80 of 84 Page ID #:586

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            With one exception I will tell you, um, that a person from Lebanon [laughs] has
       2                   written me twice asking me to be a member of a board of an organization that they
       3                   have and I have not answered it. I just don’t, I thought and I think it’s to this climate
       4                   with what you guys are asking, I’m not going to even touch that, so.
       5
       6    MJ:            Yeah and we won’t advise you one way or the other.
       7
       8    JF:            It has nothing to do with any of this---
       9
      10    MJ:            ---yeah---
      11
      12    JF:            But I just thought




                                                             T
      13
      14    AK:            Do you know what organization that was o you remember?
      15
      16    JF:            I went to their function and unusual t to go o again, and there were other
      17                   members of Congress there. I think the la th e months, and I spoke on a panel,
      18
      19
      20
      21
                               AF
                           all in public. It’s called L-I-F-E, Life that I’m ot, I don’t know what it stands for.
                           I mean he actually has a UI o his is you can re the email. Do you want to read
                           the email?

      22    AK:            No, it’s okay, then I’ll have to ke a opy of it, yeah. I’ll just [OV]
      23
      24    JF:            It says, uh, what’s, w t’s going n here is again there is an awakening in this
      25                   Lebanese mmunity i America t t they actually have to organize politically.
      26
 R
      27    MJ:            Yeah.
      28
      29    JF:              nd     ’s anoth attempt to do this. It says ‘Friends of Life in D.C., um, we’ll
      30                   represent latform r exchange in engagement on issues related to the Lebanese
      31                   Diaspora” w ch means the people here.
      32
D

      33    AK:            Okay.
      34
      35    JF:            An the L banese economy. We, it includes senior policy makers and influencers
      36                   who    Lebanese descent, and/or who have a personal professional interest in
      37                   Lebanon; again, related to policy UI.
      38
      39    MJ:            Okay, that’s fine.
      40
      41    JF:            I, UI that. I think it’s frankly innocuous---
      42
      43    MJ:            ---sure---
      44

                                                              80
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                      JF00011527
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 81 of 84 Page ID #:587

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            But I just haven’t answered him because I don’t want…I’m not sure if there’s any
       2                   interconnectedness. I don’t think there is at all, but---
       3
       4    MJ:            ---yeah and, uh, and we can’t really answer except that I never heard of that
       5                   organization so that can give you some comfort, but I definitely don’t want to advise
       6                   you to do one thing or the other. Um---
       7
       8    JF:            We’ll I was trying to be prudential, and keep them---
       9
      10    MJ:            ---yeah---
      11
      12    JF:            ---at arm’s length for many of this stuff becaus what you’re      ling me there may




                                                             T
      13                   be a taglines here with this Lebanese commu ty and ---
      14
      15    TG:            Just be your normal, cautious self.
      16
      17    MJ:            Yeah, it seems like you got.
      18
      19
      20
      21
            TG:

            MJ:
                                 AF
                           Be your normal, cautious s

                           Um, okay then I’ll need last ings if y u      ld? Emails, um, if you are willing
      22                   emails between you and your C ief o Staff related to the conversations.
      23
      24    JF:            I don’t think    ere wer UI
      25
      26    MJ:            Okay.
 R
      27
      28    JF:            Those are just nversations. Uh, you asked me for an email from Luke, but I didn’t
      29                    ull up n my lis I found her. I found the one where he says “as a part of his list
      30                   of two du ”
      31
      32    MJ:            Okay.
D

      33
      34    AK:                 ah, any e ails with Luke regarding the potential fundraiser and the decision not
      35                   to     ld th fundraiser?
      36
      37    JF:            That’s what I couldn’t pull up ---
      38
      39    AK:            ---yeah---
      40
      41    JF:            ---because I’m going off memory because I think I flagged it before, um.
      42
      43    MJ:            Okay
      44

                                                             81
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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011528
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                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    AK:            UI fine
       2
       3    JF:            Just don’t, don’t pursue California
       4
       5    MJ:            Yeah
       6
       7    JF:            that’s what I UI
       8
       9    MJ:            And yeah we’re just saying if you could basically keep ooking or in Trey’s free
      10                   time, he wants to look for you.
      11
      12    JF:            [Laughs]




                                                              T
      13
      14    MJ:            Uh, that would be helpful in, um, any other similar sort of d uments, too
      15                   document, um, the narrative you prov ded to us w ich has been helpful so we
      16                   appreciate the context.
      17
      18
      19
      20
      21
            JF:

            MJ:
                                AF
                           There’s very little.

                           No, it’s ---

      22    JF:            ---again, there’s this, all it is wh t I j t told you.
      23
      24    MJ:            Yeah, so we’l take tha basically What, the [OV]
      25
      26    JF:            What, w t I’m tellin yo is there’s nothing else other than what I told you there’s
 R
      27                   not a paper il o all this other han me paying
      28
      29    MJ:              ho g       there w
      30
      31    TG:            Let me say i f you found the email that you’re looking for ---
      32
D

      33    MJ:            ---yeah---
      34
      35    TG:            ---r ht n w, don’t keep looking for now---
      36
      37    MJ:            ---yeah---
      38
      39    TG:            ---if you find it later, shoot that to me and then I’ll talk to Jeff UI about, uh—
      40
      41    MJ:            okay
      42
      43    TG:            ---about UI
      44

                                                              82
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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                               JF00011529
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                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1    JF:            ---The only, again, the information exchange that I had with Jessica is me paying
       2                   their bill.
       3
       4    AK:            Who’s Jessica?
       5
       6    JF:            Uh, a lawyer that I turn to after the conversation.
       7
       8    MJ:            Oh, gotcha, got it. Okay.
       9
      10    TG:            If you have a copy, do you carry it with the fundrai       What percentage? What
      11                   UI obligations? UI is great, if you don’t, you don’ have it
      12




                                                            T
      13    JF:            Um, one of things frankly I’ve, yeah, I can p bably find an ema UI yeah.
      14
      15    MJ:            Okay. And yeah, those are, uh, hom         ork projec    you don’t have to do them
      16                   know. Um, Edward?
      17
      18
      19
      20
      21
            EC:

            MJ:
                           Good.

                           Todd?
                                AF
      22    TC:            Nothing further.
      23
      24    TG:            I’ll let you g   ote.
      25
      26    JF:            It’s UI.
 R
      27
      28    MJ:            We do apprec       your time.
      29
      30    TG:            I’ll let yo   o, Cong ssman and I will call you.
      31
      32    JF:            So this an em l to Luke UI, April 17th, 2018. His email from me, to me, um, list
D

      33                   to do is UI br kfast, send an email to UI people, pay. I’ll going to give you a little
      34                      ntext.
      35
      36    MJ:            Gotch
      37
      38    JF:            This is an ordinary working with us, finalizing the sorry I missed you cards for an
      39                   election and they knock on doors. I will email Cali [PH], our designer. Email
      40                           about possible event in May.
      41
      42    MJ:            Okay.
      43
      44    JF:            Contact UI
                                                             83
                                                    UNCLASSIFIED


SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                   JF00011530
           Case 2:21-cr-00491-SB Document 47-2 Filed 12/14/21 Page 84 of 84 Page ID #:590

                                                    UNCLASSIFIED
            File Number:
            Disc Number:

       1
       2    MJ:            Okay.
       3
       4    JF:            So it must be an email; I’ll have to look at my sent file from me saying just to hold
       5                   off it.
       6
       7    MJ:            Okay, great. If you can find it, that’s helpful.
       8
       9    TG:            Find that and shoot it to me. Okay?
      10
      11    TC:            All-right, so we can conclude.
      12




                                                             T
      13    MJ:            Yeah, we’ll---
      14
      15    TC:            ---okay---
      16
      17    MJ:            ---and then we’ll just UI
      18
      19
      20
      21
            TC:
                               AF
                           All-right, recording conclud d

            [End of transcription by OST Cynthia Lee]
                                                             12:50.


      22
      23
      24
      25
      26
 R
      27
      28
      29
      30
      31
      32
D

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      34
      35




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SUBJECT TO PROTECTIVE ORDER – SENSITIVE MATERIALS                                                                  JF00011531
